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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
VS

LARRY CHARLES INMAN,

Defendant.

Christopher M. O’Connor (P71846)
Assistant United States Attorney
330 lonia Ave NW

Grand Rapids, Ml 49503-2504
(616) 456-2404
Christopher.oconnor@usdoj.gov

Ronald M. Stella (P45316)
Assistant United States Attorney
330 lonia Ave NW

Grand Rapids, Ml 49503-2504
(616) 456-2404

Ron.stella@usdoj.qov

Case No. 1:19-cr-117
Hon. Robert J. Jonker
Hon. Phillip J. Green

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Christopher K. Cooke (P35034)
NEUMANN LAW GROUP
Attorney for the Defendant
300 East Front Street, Suite 445
Traverse City, MI 49684

(231) 221-0050
chris@neumanniawgroup.com

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RESPONSE IN OPPOSITION TO THE GOVERNIMENT’S MOTION JN LIMINE TO EXCLUDE
DEFENDANT’S EXPERT WITNESS RE: DIMINISHED CAPACITY DEFENSE AND COUNTER-MOTION
TO EXCLUDE THE GOVERNMENT'S DISCLOSED REBUTTAL EXPERTS

Now comes Defendant Larry Charles Inman by and through his attorneys of record,

NEUMANN LAW GROUP, and in response to the Government's motion in limine to exclude the

testimony of Dr. Bruce Baker states as follows:

On August 8, 2019, Defendant Inman served on the Government his 16 page

SUPPLEMENTAL DISCLOSURE RE:NOTICE OF INTENT TO PRESENT EVIDENCE OF DEFENDANT’S

DIMINISHED COGNITIVE ABILITY AS A RESULT OF THE USE OF PRESCRIPTION PAIN MEDICATION
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.515 Page 2 of 75

PURSUANT TO R 12.2(b) (Exhibit A). This document was not filed with the Court at the time of
service due to obvious privacy reasons while Defendant's various motions to dismiss were
pending. It is now being filed in conjunction with Defendant’s brief in opposition to the
Government's effort to exclude Defendant’s expert witness, Dr. Bruce Baker.

Dr. Bruce Baker works in conjunction with a highly regarded drug and alcohol
rehabilitation program, Hope Network, based in Grand Rapids. It should first be noted that
Representative Inman entered a six week in-patient recovery program at Hope Network on July
17, 2019. He SUCCESSFULLY COMPLETED the program and was discharged on August 27, 2019.
Further, after the supplemental notice was filed, Representative Inman signed every release
provided to him by the Government. The government then subpoenaed some 1,495 pages of
Representative Inman’s medical records from Drs. LaFond, Richardson, VanHouzen, Bizon,
Lathrop and providers Munson Medical Center and Hope Network (Dr. Bruce Baker). These
records date from 2012 to the present.

The Government now moves to exclude the testimony of Dr. Bruce Baker on three basic
grounds:

1. Relevance as to Counts | and 2 as they are not specific intent crimes.

2. Relevance as to time as they do not relate back to June 3 and June 5, 2018 (the dates

charged in the Indictment).

3. The Defendant's disclosure under FRCrP 16 is inadequate as it does not disclose the

bases and reasons for Dr. Baker’s opinions.
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As to the first issue, the Government is simply wrong on the mens rea required by the
Defendant to violate the offenses charged in Counts | and I. This issue has been briefed but not
yet decided by the Court (ECF 18, PagelD.73-77). The Sixth Circuit has been clear that both an
alleged violation of the Hobbs Act and an attempt to do so are specific intent crimes. U.S. v.
Dabbish, 708 F.2d. 240 (1983); U.S. v. Calloway, 116 F. 3d 1129 (1997). The Sixth Circuit has
also held that the charge of Solicitation of a Bribe is a specific intent crime, U.S. v. Crum, 195
U.S. App Lexis 15351(1995)(see ECF 18 PagelD.87-90). Evidence of diminished mental capacity
is relevant evidence when the crimes charged require a specific mens rea, U.S. v. Kimes, 246
F.3d 800 (2001). For the government to continue to argue this position in the face of the
controlling law is frivolous.

As to the second argument of the Government that the opinions of Dr. Baker do not
relate back to last summer, the date of the charged offenses, the government’s argument
simply ignores the full report of Dr. Baker which identifies all the documents he reviewed in
formulating his opinions (Exhibit A (13)). The list of documents encompass 213 pages of the
1,495 pages of medical records produced by Mr. Inman’s medical records from various
providers all of which have been subpoenaed, Bates stamped and produced back to the
defendant by the Government (Government’s Seventh Production, HOPE 184 to386), These
documents cover a period of time beginning in 2017 through the present. They are replete
with references to Mr. Inman’s chronic pain condition, regular prescriptions of Hydrocodone,
MAPS printouts showing written prescriptions for hydrocodone, soma and other drugs which
Dr. Baker point out as being contra- indicated. The records also include Mr. Inman’s admission

of hoarding pills and taking them in excessive quantities depending on his perception of pain.
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Specifically as to the 16 page supplemental notice, the government has been informed
that:

1. Dr. Bruce Baker is a licensed physician and an addiction treatment specialist. He is
the medical director for Hope Network Center for Recovery. His curriculum vitae is attached to
the disclosure. Dr. Baker has been a licensed medical doctor in the state of Michigan since
1982. He also holds a Masters degree in Public Health from the Medical College of Wisconsin.
He is a Diplomate of the American Board of Addiction Medicine. He is a certified Medical
Review Officer. He is also a Fellow of the American Society of Addiction Medicine.

2. Dr. Baker is the Medical Director of the Cherry Street Southside Clinic which provides
medication assisted treatment of opioid addictions. He is also the Medical Director of West
Brook Recovery Center and Westbrook North. West Brook Recovery Center in Grand Rapids
provides customized living services and residential treatment for individuals struggling with
addiction. Dr. Baker is the Medical Director of Our Hope. Our Hope is a similar residential
treatment facility for women. Dr. Baker also acts as the Medical Director for Substance Use
Disorder at Newaygo Community Mental Health and Centra Wellness of Manistee. One of the
bases for Dr. Baker’s opinions is his deep educational and work experience with the problems
of substance use disorder.

3. Dr. Baker’s Initial Assessment of Defendant Inman reveals that he took a medical
history of the patient on June 13, 2019, slightly more than a year from the alleged incident. Mr.
Inman reported that he was then taking “Norco 4 tablets a day although he does admit to
utilizing 12 tablets on occasion.” In addition he reported daily doses of four other medications

including the insomnia drug Soma and wearing a Fentanyl patch. Dr. Baker reports that that
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Mr. Inman revealed “(hje has been on the fentanyl and Norco at least for the past two years
and has had difficulty with his cognitive sense as well as some balance issues” (Exhibit A, “Past
Medical History”, at p. 10). Mr. Inman also reported using a testosterone gel since 1998. Mr.
Inman also revealed that he had not been following the doctor’s prescriptions as to Norco
“which he has been hoarding” (Exhibit A, p. 10). Mr. Inman also admitted to consuming alcohol
in addition to the use of prescription medication. Dr. Baker states, “up to recently, his routine
would be 2 vodkas, 2 beers and some wine when he goes out to dinner. This is in addition to
the psychotropic medications that he has been prescribed.” Dr. Baker also records a number of
surgeries for Mr. Inman on his ankle, an appendectomy and an abdominal abscess repair.

Mr. Inman also reported balance issues, including being unsteady on his feet and
tripping. Dr. Baker identified Dr. Richardson and Dr. VanHouzen as Mr. Inman’s treating
physicians.

4. Dr. Baker’s Initial Assessment also included a review of lab tests he conducted on Mr.
Inman. A drug screen revealed the presence of a Klonopin derivative, a Soma compound,
evidence of hydracodone, alcohol byproducts and fentanyl. Mr. Inman’s drug screen also
showed the presence of a Valium derivative. (Note: the Government has these drug screens
and they are bates stamped HOPE 139-152)

5. Dr. Baker then ran a MAPS report on Mr. Inman which tracks narcotic prescriptions
administered to him over the past two years (HOPE 000135, Exhibit B). Of particular relevance,
the MAPS report shows regular and ongoing prescriptions of Hydrocodone (Norco) to the
defendant from January of 2018 through June 6 of 2018 and beyond. From the beginning of

the year to the date of the incident, defendant Inman had access to 585 doses of Norco. He
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also received 360 doses of Clonazepam (Klonopin) which Dr. Baker will testify (per the
Supplemental Disclosure) will “amplify the symptomology” of the drugs and when combined
with opioids is “similar in effect to heroin.” (Exhibit A, page 2).

6. In addition, Dr. Baker reviewed 10 enumerated sets of records listed on page A13. As
mentioned previously, these records include 202 pages of medical records from other providers
(HOPE 000184 to 000386). Excerpts from these providers also reveal the defendant's access to
and use of opioids and contra-indicated prescription medications for years, including the month
of June of 2018 and thereafter. Dr. Baker points out a Munson Medical Center Discharge
Summary of 1/22/ 2018 showing Mr. Inman discharged from the hospital with 34 different
medications. “Seven out of 34 are psychoactive.” (Exhibit A, p. 13; Exhibit C (HOPE 247-253)).
in addition, Dr. Baker reviewed prescription summaries from Walgreens which also show access
by Mr. Inman to opioid and Klonopin medications. Exhibit D (HOPE 000313, 316,328,331,333).

7. Dr. Baker then referred to the DSM-V Substance Use Disorder checklist. DSM is the
standard classification of mental disorders used for clinical, research, policy and reimbursement
purposes tn the United States.

“DSM is the standard classification of mental disorders used for clinical, research, policy,
and reimbursement purposes in the United States and elsewhere. It therefore has widespread
importance and influence on how disorders are diagnosed, treated, and investigated. Since its
first publication in 1952, DSM has been reviewed and revised four times; the criteria in the last
version, DSM-IV-TR, were first published in 1994. Since then, knowledge about psychiatric
disorders, including substance use disorders, has advanced greatly. To take the advances into
account, a new version, DSM-5, was published in 2013. In 2007, APA convened a
multidisciplinary team of experts, the DSM-5 Substance-Related Disorders Work Group (Table

1), to identify strengths and problems in the DSM-IV approach to substance use disorders and
to recommend improvements for DSM-5.” Am J Psychiatry, 2013 Aug 1: 170(8); 834-851.
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Dr. Baker concludes that :“Mr. Inman meets 8 of the criteria. The guidelines for diagnosing a
severe disorder are the presence of 6 or more of the symptoms within a 12 month period and
Mr. Inman demonstrates 8 of the 12” (Exhibit A, p. 14).
Dr. Baker then diagnosed Mr. Inman in his “Assessment” as suffering from:

1. Severe Opioid Use Disorder

2. Severe sedative use disorder

3. Provisional mild alcohol use disorder (Exhibit A, p. 14),

Finally, the supplemental notice ties all of this up with a summary discussion of Dr.
Baker’s opinions based on his review of the above facts and consistent with the DSM manual,
an accepted authoritative treatise in the field of psychiatric disorders. (Exhibit A, pps 1-3).

The summary of Dr. Baker’s opinions discusses the defendant’s “long term use of narcotic
prescription medications that led to a severe opiate use disorder.” The time range in question
encompasses the time period of the alleged offense as reflected in the records referred to by
Dr. Baker, The basis of his opinions are fully disclosed in his “Initial Assessment” report, the lab
testing he conducted, the MAPS report he reviewed, the portions of the 202 pages of medical
records he reviewed as specifically identified in his report, the medical history he took from Mr.
Inman and his use of a recognized authoritative treatise to assist him in his diagnosis. In
addition, the scope of his proposed testimony is highlighted in the summary discussion.

Dr. Baker is not simply a forensic expert for the defense. He is a treating physician of
Representative Inman. He placed the defendant in a six week in-patient program where Mr.

Inman attended counseling sessions and group therapy 8 hours per day. Mr. Inman was
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observed during these sessions and chart notes made. These have all been provided to the
government (HOPE 00001 to 000184). These treatment records also support Dr. Baker’s
opinions in the case. For example, a PsychoSocial Assessment conducted by Dr. Flavio Da Silva
of Hope Network on June 13", 2019 notes:

“Larry has been prescribed Norco for the last 18 months to 2 years. His dosage allows
for up to 4 tablets a day but he reports taking less than what was prescribed, for the purpose of
storing, as well as taking more than what is prescribed without provider knowledge, 12 to 14
per day. Larry does acknowledge, “I was taking 6 Norco prescribed by my doctor, and maybe 6
more from what | had stored. Furthermore, he reports unsuccessful efforts to cut down or

control use on his own. “ (Exhibit E, HOPE 000118, 000119).

THE GOVERNMENT IS IN POSSESSION OF OTHER RECORDS CONFIRMING LONG TERM OPIOD
USE AND USE IN JUNE OF 2018

Besides what is in the Hope Network records, records from other providers, obtained by
the government show long term access to prescription narcotics. For example, records
obtained by the government via subpoena from Dr. Dan Lathrop show regular Norco
prescriptions being written to the defendant for a severe foot and ankle problem for which he
had surgery in 2017. (Exhibit F, LATH-0001). Beginning in 2015, Dr. Lathrup was prescribing
doses ranging from 125 to 180 tabs every month and a half through January of 2018 (Exhibit F,
LATH-0002 to 00031). Dr. Lathrop writes:

“On 5/11/18 | concluded that he is basically a chronic pain patient and that | have

done all! can for him to treat him conservatively. | subsequently referred him to
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his family Dr. Dr. Russell Van Houston (sic), M.D. | discussed this case with Dr. Van

Houston (sic) and he said he would take over Larry’s care and terms of pain control.”

(Exhibit F, LATH-0001).

After the vote on Prevailing Wage in June of 2018, medical records of Dr. Van Houzen indicate
that Larry was still regularly consuming Norco. Van Houzen writes:

“This is a follow up visit after being hospitalized January 22 to January 25, 2018.

He had an incisional hernia repair which required a huge 15 cm mesh and apparently he

could not close the upper segment completely...He saw Dr. LaFond apparently today in

his office. He has been taking Norco 10/325 prescribed by Dr. LaFond. They gave him

60 pills he thinks for two weeks. ... He was on 7.5 once a day from Dr, Lathrop and he

got 100 pills every 90 days from him. | advised that | could write him a Rx for 7.5 hoping

that he could wean down from the 10...”

Dr. Van Housen then prescribed “100 tabs of Norco 7.5/325 one q. 4 hours prn pain. | would
prefer not to write another one of those if possible.” (Exhibit G, LATH-000040).

In addition, the Government also seized Representative Inman’s cell phone and
extracted all contents of the phone in preparation of a “Forensic Extraction Report”. This is the
report they used to find the text messages that they claim violated the federal law. This is a
searchable document and, assuming the Government searched for evidence of pain complaints
by Representative Inman and/or references to his use of pain medications in an effort to fairly
analyze his pre-indictment statements to the FBI that he was suffering from a prescription pain

medication addiction, they would have found numerous messages authored by the defendant
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regarding his problem. Exhibit H is some select test messages before and after June of 2018
that illustrate the difficulty Representative Inman was having with chronic pain. For example:
H1: On March 22, 2018, Defendant is texting his physician to refill his Narco
prescription.
H2: On March 25, 2018, Defendant summarizes the amount of Norco he is receiving
from different treaters.
H3: On July 25, 2018, Defendant is complaining about back and leg pain and states, “I
have doubled down on pain meds and it’s not helping.”
H4: On March 26, 2018, Defendant is speaking of pain levels in his right foot to his
doctor.
H5-11: On June 9, 2018, (3 days after the vote in question), the defendant is engaging in
a series of text discussions about his pain level. He states:

e “It effects my ability to do extensive walking, or physical activity, and its getting
worse...”

e “That is causing increasing pain and | wake up at 3 am with extreme lower back
pain and extreme pain down my back side of both legs...”

e “| can do some doors (ie: campaigning door to door) but it will cause more
pain...! killed my right foot after surgery doing extensive doors to win my first
election in a boot cast...it swells pretty good on extensive walking...The drive
back and forth to Lansing is killing me...”

e “!'m eating pain pills like a bag of MM...”

°e “My entire spinal cord is inflamed and pain pills are not cutting it anymore...”
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Hi2 (June 30, 2018): “On the QT, the nerve back pain that goes down both legs is
not getting better...”

H13 (July 25, 2018) : “I am so miserable in my lower back pain and down the back of
legs is not getting better. | have doubled up on pain meds and it is not helping...”
H14:(July 25, 2018): “My pain level is 8 out of 10.”

H15 (July 16, 2918): “lam not getting any sleep. Pain pills don’t work anymore.
And lam on 50 scripts keeping me alive...:

H16 (July 4, 2018} : “Bring pain pills!”

H1i7 (July 2, 2018): Discussing appointments with several doctors re: back pain.
H18 (July 2, 2018): Discussing “chronic pain”.

H19 (July 2, 2018): Same discussion

H20 (July 1, 2018): “...l am at the Hacienda, ice cold beer and Air is set at 70, miss
you, love you, Bond needs pain drugs, to many missions getting shot at and falling

off tall buildings for MI 6 AKA campaigning, 007”

The case cited by the government in support of its motion to bar the testimony of Dr. Baker
actually is very helpful to support a ruling that he be allowed to testify. Interestingly, it also
supports a counter motion by the Defendant to bar the government’s rebuttal witnesses from
testifying. In United States v. Davis, 514 F. 3d 596 (2008), although not reversing the District
Court on its decision not to bar the testimony of the government chemist because the defense
attorney did not offer another alternative other than barring the testimony of the chemist (ie: a

recess to retain his own chemist, etc.} the Sixth Circuit admonished the lower court for allowing
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the testimony due to the Government's inadequate disclosure under Rule 16(a)(1)(G). This rule
in pertinent part mirrors the requirements of Rule 12.2(b). The Government's disclosure
consisted of the results of two chemical tests and a letter that stated “a chemist would testify
consistent with the laboratory report.” Further the letter stated, “the chemist’s testimony will
be based on training, including formal education and experience, including having conducted
numerous such examinations.”

The Court concluded that “had the defendant hired a chemist, he or she would not have
been able to analyze the steps that led the government's chemist to their conclusions.” The

Court set forth the following rationale.

“Rule 16(a)(1)(G) states:

Expert witnesses.-At the defendant's request, the government must give to the defendant a
written summary of any testimony that the government intends to use under Rules 702, 703,
or 705 of the Federal Rules of Evidence during its case-in-chief at trial. ... The summary
provided under this subparagraph must describe the witness’s opinions, the bases and reasons
for those opinions, and the witness's qualifications.

FED. R. CRIM. P. 16(a)(1)(G). The Advisory Committee Notes ("Notes") for Rule 16 state in
relevant part:

[T]he requesting party is entitled to a summary of the expected testimony. This provision is
intended to permit more complete pretrial preparation by the requesting party. For example,
this should inform the requesting party whether the expert will be providing only background
information on a particular issue or whether the witness will actually offer an opinion. In

some instances, a generic description of the likely witness and that witness's qualifications may
be sufficient, e.g., where a DEA laboratory chemist will testify, but it is not clear which
particular chemist will be available. FED. R. CRIM. P. 16, Advisory Committee Notes (1993
Amendment). In addition, in order to comply with Rule 16(a)(1)(G), the Notes specifically state
that, "perhaps most important, the requesting party is to be provided with a summary of the
bases of the expert's opinion." Id.

Without regard to whether a party would be entitled to the underlying bases for expert
testimony under other provisions of Rule 16, the amendment requires a summary of the bases
relied upon by the expert. That should cover not only written and oral reports, tests, reports,
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and investigations, but any information that might be recognized as a legitimate basis for an
opinion under Federal Rule of Evidence 703, including opinions of other experts.

If a party fails to comply with this rule, Rule 16 instructs that the Court "may" do any of four
things: (1) "order that party to permit the discovery or inspection; specify its time, place, and
manner; and prescribe other just terms and conditions;" (2) "grant a continuance;” (3) "prohibit
that party from introducing the undisclosed evidence;" or (4) "enter any other order that is just
under the circumstances.” FED. R. CRIM. P. 16(d)(2).”

As discussed earlier, defendant's 16 page notice referencing the review of 202 pages of
associated medical records, a laboratory test of the defendant, a review of a MAPS printout, a
medical history of the defendant, the relevant DSM-V criteria, and a written summary of the
expected testimony of Dr. Baker complies with these requirements in all respects. Also the
government, as a minimum, is being disingenuous with this Court when it argues that
defendant’s problem does not “relate back” to the date of the alleged offenses, Not only does
Dr. Baker speak to a “long term” abuse of opioids dating back at least two years, the
Government, through its extensive discovery of over 1400 pages of defendants medical records
and the entire contents of defendant’s phone, knows or should know, the defendant had a
serious, long term prescription opioid medication problem that he was complaining about both
before and after the vote in question.

All this information that has been made available to the Government and that which

they have seized by search warrant, makes the notice it provided to defendant regarding its

potential rebuttal witnesses defective and disingenuous.

GOVERNMENT REBUTTAL WITNESSES PROVIDE CURSORY SUMMARY OPINIONS AND NO

FACTS OR BASES IN THEIR NOTICE
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On November 1, 2019, the Defense received correspondence from the Government
purporting to be its “disclosure” of rebuttal experts. It states:
“I will not be able to provide more detail regarding the opinions of our rebuttal
experts until | receive a sufficient disclosure of the bases and reasons for Dr. Baker’s
opinions...
and, Dr. Berland, board certified in internal medicine and addiction medicine, is expected to
testify that the combination of controlled substances that your client took on a long-
term basis would not cause a diminishment in his cognitive capacity such that he could
not form the specific intent to commit the subject offense({s)...”
and, Similarly, Dr. Judge, an emergency medicine physician certified in toxicology is expected
to testify about the chemical properties of these drugs alone, or in combination with
each other, and how many individuals taking these combinations of drugs on a long-
term basis are able to carry out normal activities.” (Exhibit 1).
This totally deficient notice tracks fairly closely with the defective notice in Davis above. Do
you mean to say that the extreme intrusion into the Defendant’s medical records encompassing
over 1400 pages of medical records, the MAPS documents, the Walgreen records, the 202
pages of treatment records from Hope Network, the doctor’s notes documenting their concerns
with the long term use of Norco by the defendant, the Initial Assessment by Dr. Baker, the
reference to the appropriate DSM-V criteria and the numerous relevant text messages that
they seized from Representative Inman’s which state, among other things:
“| have doubled down on pain meds and it’s not helping.”

“I’m eating pain pills like a bag of MM...”
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“My entire spinal cord is inflamed and pain pills are not cutting it anymore...”

“1 am not getting any sleep. Pain pills don’t work anymore. And | am on 50 scripts

keeping me alive...
do not provide enough information for either of the Government's “addiction specialists” to
draw any conclusions of substance? Where is their review of the facts? Where is their initial
assessment? Where is there counter analysis that someone who is hording prescription pain
medication and “doubling down” on their dosing does not have a “severe opioid use disorder”?
How does Dr. Berland or Dr. Judge explain that someone who has admitted to taking 10 to 12
Norcos per day plus Klonpin plus Soma plus consuming alcoho! daily has no potential for having
some diminishment in their cognitive and functional abilities? If that is their opinions, please
cite the defense to the DSM-V criteria that supports this opinion.

Frankly, it sounds like these two “experts” have reviewed nothing and are just being
“kept on the shelf” by the government until they might be needed. Then their opinions can be
sprung on the defense at trial. There is plenty of information, data, bases and opinion for these
two experts to formulate some opinions. In fact, the defense has offered to let the government
interview Dr. Baker (Exhibit |). Of course, this invitation has not been accepted because the
government was always dismissive of Representative Inman’s problems when it was first raised
and disclosed pre-Indictment.

The Court should require both of these two government experts to immediately
produce their notes or any other documentation to show they have reviewed anything. All the
defense has is a letter from Counsel. Not one attachment from either of these two experts was

attached to show that they have done anything in this case.
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In addition, the Court should bar the government’s rebuttal witness testimony based on
a failure to properly disclose anything about their opinions in the face of defendant’s request
under Rule 16(g) as far back as May 15, 2019 ( Exhibit J) and the substantial data that has been

produced and seized in this matter,

November 10, 2019 Respectfully,

CBee Loe.

Christopher K. Cooke (P35034)
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 poheyeye qa ene Act 75

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
vs

LARRY CHARLES INMAN,

Defendant.

Christopher M. O’ Connor (P71846)
Assistant United States Attorney
330 Ionia Ave NW

Grand Rapids, MI 49503-2504
(616) 456-2404

Christopher. oconnor@usdoj.gov

Ronald M. Stella (P45316)
Assistant United States Attorney
330 Ionia Ave NW

Grand Rapids, MI 49503-2504
(616) 456-2404 .
Ron.stelia@usdoj.gov

Case No. 1:19-cr-117
Hon. Robert J. Jonker
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/

Christopher K. Cooke (P35034)
NEUMANN LAW GROUP
Attorney for the Defendant

300 East Front Street, Suite 445
Traverse City, MI 49684

(231) 221-0050
chris@neumannlawegroup.com

SUPPLEMEMNTAL DISCLOSURE RE :NOTICE OF INTENT TO PRESENT
EVIDENCE OF DEFENDANT’S DIMINISHED COGNITIVE ABILITY AS A RESULT
OF THE USE OF PRESCRIPTION PAIN MEDICATION PURSUANT TO R 12.2(b)

Now comes the Defendant, Larry Charles Inman, by and through his attorneys of record,

NEUMANN LAW GROUP, and, pursuant to the Court’s Standing Order Regarding Discovery

in Criminal Cases, hereby, provides supplemental disclosure regarding Defendant’s intention to

present expert testimony and related evidence of diminished cognitive ability bearing on the

issue of whether or not defendant had the requisite mental state required for the charged offenses.
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Defendant will call Dr. Bruce Baker, 10809 Long Road, Howard City, MI 49329. Dr.
Baker is an addiction treatment specialist and, among other things, is the medical director of
Hope Network Center for Recovery, 3210 Eagle Run Dr NE, Suite 200, Grand Rapids, MI
49525. Dr. Baker will testify about the Defendant’s long term use of narcotic prescription
medications along with other prescribed medications that led to a severe opiate use disorder, a
provisional mild sedative disorder and a mild alechol disorder (please see his “Initial
Assessment” attached herewith), Dr, Baker will also discuss the symptomology of the disorder
and how it affected the cognitive understanding and intent of the defendant, including, among
other things feelings of grandiosity, memory lapses, illogical thoughts or moods and
inappropriate aggressiveness, Dr. Baker will testify that the defendant was totally influenced by
the medications that were legally dispensed but ingested contrary to the prescriptions. The
defendant was hording the drugs, particularly Norco, and ingesting them in large doses to deal
what he perceived to be unbearable back pain. Dr. Baker will testify that one sequalae of the
disorder is the brain calling for more of the drug by amplifying or creating feelings of pain that
are not present so the patient will ingest more of the drug.

Dr. Baker will also testify that the defendant took other medications that worked in
combination with the opiods to amplify the symptomology such as the sleep aid, Soma which is
a mood altering drug which, in combination with opiods is similar in effect as heroin would be.
These drugs and combinations of drugs affected the defendant's cognitive abilities tremendously
to the point that he would say and do things he would otherwise not do in an unaffected state.
These drugs also affected the defendants ability to properly perceive incoming and outgoing

stimuli.
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.532 Page 19 of 75

Dr, Baker will further testify that the defendant was prescribed 34 medications and
supplements upon his discharge from Munson many of which were counter-indicated or when
taken in combination with one another would tend to heighten the negative effects of the narcotic
medications. Further, as patients age their sensitivity to these types of drugs and alcohol is
lowered making them more susceptible to the deleterious effects ofthe drugs and the potential to
develop a drug use disorder.

Dr. Baker has also had experience with patients who have suffered from this disorder and
who have said and done things while under the effect of these medications that were totally out
of character for them and led to bad consequences. Dr. Baker is of the opinion that the
medications and combinations of medications taken by the Defendant effected his cognitive
abilities and altered the defendant’s rational thought patterns and actions.

Dr. Baker will also testify that the defendant has entered a 10 week inpatient program at
Hope Network. He will testify about the type of treatment, the requirements of the program, the
defendant’s performance in the program and associated matters.

Please see the attached resume and Initial Assessment by Dr. Baker.

August 8, 2019

Respectfully,

CBE Cohn

Christopher K. Cooke (P35034)
Neumann Law Group, PLLC

 
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FAX COVER SHEET

 

 

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From ‘Dr. Raver

Newaygo Colnty Mental Health, 1049 Newell
PO Box 967, White Gloud Ml 49349
231.689.7330 ~ fax, 231.689.7345

Message

 

 

 

 

 

 

 

 

 

 

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07-40-1956! 53PH; iB # ‘fd
40309 Long Rond
BRUGE H, BAKER, MD Howard City, 1A 4320
Homb} 731.987.9408 Cel 231,629.1778
CURRICULUM VITAE
Education
Madical Callege of Wisconsin 2001-2009
Graduaia School Masters In Public Health
Duke University Medical Schoo) 1880-1982
Residsnoy Anesthesia
Chief Resident — 1282
Maricopa County General Hospital 1979-4980
Intamship Rotating intemship
Michigan State University 1975-1979
Macical School
College of Human Madioine, MD '
Michigan State Universtiy 1871«4975
Undergraduate Studies

Major Chemistry Minor: Philosophy

Certifications

American Board of Addictlon Medicine Diplomate
Certified Medical Review Officer

Amerlcan Board of Anesthesiology Diplomate
Fellow American Soclaty of Addiction Medicine

 

20065-Pyasent
2000-Present
4984-Prasent

Present

 
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.535 Page 22 of 75

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07-15-19502: 50PH; iia aoa 4
BRUCE H, BAKER, MD 10009 Long Rozd

Howard Cy, Ml 48328
Home: 237.997,0408 Colt 231.628.1776

 

Professional Attivities

Staff Physiclan/Gertified Medical Reviaw Officer 4999-2005
Med-1 Occupational Health Services
Kentwood, Michigan

Associate Clinteal Prafessar 1988-698
Michigan State University

East Lansing, Michigan

Director Transitlonal Year Residency Program 4984-1698
Saint Mary's Hospital

Grand Rapids, Michigan

Medical Education Committee 4884-1996
Saint Mary's Health Serviges
Grand Rapids, Michigan

Assistant Clinical Professor 7983-1988
Michigan State University
East Lansing, Michigan

Chetirman Anesthesia 41963-1988
Ferguson Hospital
Grand Rapids, Michigan

Staif Anestheslotogist 1982-1998
Saint Mary’s Hospital
Grand Rapids, Michigan

Staif Anesthestalogist 4982-1988
Ferguson Hospltal
Grand Rapids, Michigan

Professional Organizations

Michigan State Medical Society

Kent County Medical Society

American College of Ccecupational and Environmental Medielne
American Sactety of Addiction Medicine

Medical Review Ofitcer Certifleation Councll

 
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.536 Page 23 of 75

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ARUGE A, BAKER, iD 40809 Long Road
R , Haward city, Ml 49329
Home: 231.637.9408 Cel: 231,029.1778

 

Employment

Cherry Street Sauithside Clinic 2048-Present
Medication Assisted Treatment
Medical Director

- West Braok Recovery Genter February 2008-Present

Medical Director

Wast Brook North 2012-Present
Medical Director

Cttagon Addictions. and Rehabilitation 2010-2015
Medical Directar

Pine Rest Christian Hospital 2004-Present
Courtesy Staff

Salvation Army Tuming Point 2071-2012
Subacute Detoxification :
Medical Director

Saint Mary's Hospital 2004-2072
Cournesy Staff

Our Hope 2016-Present
Medical Director

Occupational Medicine Physician 2007-2009
Plastachs Engineering

Occupational Medicina Physician 2006-2009
Meridian Automotive

Director of Cocupatianal/Travel Medicine 2005-2009

Wolverine Worldwide Intamaional

Occupational Medicine Physiaian 2004-2008
Hawarih International

Occupational Medicine Physician 2003-2008
Johnson Controls Intemational

 
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.537 Page 24 of 75

 

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07-19-19; 02:50PM; 3123 # 4/ 4
d
BRUCE HH. BAKER, MD ston eaten Roa
Home: 237.997.9408 Col: 231.629.1775
Employment (continued)
Occupational Madicine Physician 2003-2009
Fisk Fab international
West Michigan Addiction Consultants, PC 2007-2008
Acting Medical Direstar
Occupational Medicine Physician 2001-2004

Interface Fabrica

Newaygo Community Mental Health 2014 - Present
Medical Director Substance Use Disorder

Cherry Health 2015 — Present
Medicat Director Medication Assisted Treatment Program

Centra Waltness Manistes Present
Medleal Direator Substance Use Disorder

Publications

“Barly Use of PREP Prevent Lung Water Accumulation During Valume Infusion."
RW. Melntye, BH. Baker, M. Mcloed, JN, Miller, Sclentlfic Paper Prasentaiion,
American Society of Anesthesiologists, 1982.

Hobbies
Seuba Diving, Photography, Stained Glass, Hiking, Bicycling
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.538 Page 25 of 75

eT WORK

CENTER FOR RECOVERY

3210 Eagle Run Dr, NE Phone: §16-279-3725
Suite 200 Fax: §16-279-3723
Grand Rapids, Mi 49525

 

 

 

 

FAX COVEA SHEET

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Hope Network Conter for Racovary at 616- 957-1200,
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.539 Page 26 of 75

HOPE NETWORK
INITIAL ASSESSMENT

NAME; INMAN, LARRY
DATE; June 13, 2019 .

Mr, Inmon is here today for on independent review of his present situation, He was informed that this is

nota thempeutic session aud that I will make recommendations at the conclusion. It will he up to Lacy
whether he desires to have me assist him should he require assistance,

SUSTORY OF PRESENT ILLNESS:

Lay is a 65-year-old Coucasion male, who presents today needing some assistance with his medication
issues. His Issues began in August of last yeor when be inappropriately texted 2 message to one of the
lobbyists, Ido not have the content of that text message, but the message essentially stoted Mr. Inman
was requesting a $30,000 oheak. This was conveyed to Lisa, who was onc of the lobbyists, Lisa became
upset and notified the FBI and they became involyed secondary to the text message that he sent to the
lobbyist, There is also issues of how he wrote it at that time and we do not have the details of that nor
are they thal important to the present situation. Mr, Inman has received monetary reimbursement for his
campaigns priorto this from the same individual, Once the FBI became involved, he contacted an
attorney and realized thot there ore some significant issues that need to bo addresscd.

PAST MEDICAL HISTORY:

Medications that Mr. Inman takes at this time include the following: Norco up to 4 tablets a day
althouch be does admit to utilizing 12 tablets on occasion, Klonopin 0.5 mg 1 to 2 tablets at bedtime as
needed, Soma compound 1 tablet at bediime, Robaxin 1 tablet at bedtime, Benadryl up to 4 eapsules at
night, mud fentanyl patches 25 meg patches changed every3 days, He has been on the fentanyl and
Norco at feast for the past two years and has had difficulty with his cognitive sense as well as some
balance issues, Larry's medical history is complicated, but the highliphts include a diagnosis of dinhetes
for the past 12 years and he is taking oral medications for it, His jast hemoglobin Ale was 7,02 and he is
under the care of a new internist, Dr. Mask Richardson, He also has glaucoma, which is under control at
this timo and does use eyedrops for it. He has been treated for hypogonadism sinco 1998 utilizing
testosterone gel, He dacs see a chiropractor for his back and he has had excellent results for the past4io
5 months regarding its use, Larry is willing to do whatever it takes as his use of medications have teen
following the dastor's direction except for the use of the Norco, which be has been hoarding.

SUBSTANCE USE HISTORY:

Regarding fisctuss of mood altering substoncos, Mr. Inman's first drink occurred atthe age of 18. He
stated that he had tried marijuana in college ond did not find it agreeable and has notused since, He has
never attempted to uso cocaine and he has not used any hallucinogenic compounds, Heis a nonsmeker,
However, he docs continue to drink and states that up until recently, his routine would be 2 vodkas, 2

- ‘Heers and some wine when he goes vu Soc dines, This is in addition to the psychotropic medications

thot he has been presoribed.

ALLERGIES TO MEDICATIONS:
Ambien, Norvasc, and esmolol.

SURGERIES:

The surgeries that he has encountered includes an ankle surgery which was his first surgery ever in 2014
when he tripped, He also hud in 2012 he hod on appendectomy and an abdominol hemia repair.
Unfortunately, it resulted in a bowel tear and an abdominal abscess requiring more surgeries and a
significant amount of discomfort,

Fila nfortatlsa bis been divclored (a yoo frees reeerdaprotcted by Federal CosSteattity ded (42 CFR Pot 2}, ‘Tha Federal rales prodibit you Lema makcg ony
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Isfermatin to ceirdzally Invest nie cr presenti eny alrobol oreroz pecas patent, ’

 
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.540 Page 27 of 75

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NAME; INMAN, LARRY
DATE: 06/13/2019
Page 2

SUBSTANCE ABUSE TREATMENT:

Larry has never received any substance use treamment as it hos never been identified as being an issue for
him nntil recently, He states that he has been unsteady on his feet for a number of months and also is
having difficulty with his balance, He states that he has been tripping more than usual and feels as

though he is falling over his feet,

FAMILY PHYSICIAN:
Dr, Van Houzen has retired and be is now being seen by Dr. Mark Richardson in the Traverse City orca.
Dr. Richardson declined any further treatment for Mr. Inman given the information thus far,

SOCIAL BISTORY:

Mr, Inman was bom in Detroit, Michigan and took up residence in Traverse City since the age of 18. He
graduniad from Trenton Hish School in.d932.on-time inthomiddig-oPhisclass.. Ho then attended North
‘West Michigan College where his major was law enforcement, He transferred to Northem Michigan
‘University in Marquette after 2 years and did complete his degree at that time. Unfortunately, during this
time period there were minimal jobs avallable for lavy enforcement and very few jobs for new graduates,
Larry then faterviewed with the FB. hoping to secure aspot, Unfortunately, the rules at that time were
such that only a CPA ora lawyer could bean FBL agent, He then went into business working at Pine

Best Mational trom 1979 for 20 years asa lam ndjuster and 1 vice president of cammergial loans, He

then tronsferred to Huntington Bank in 2008 and worked there until 1998 Larry ran for county
comumissfoner in 1998 and to his surprise won for the House of Representatives in the 104th District.

FAMILY HISTORY:

Se ist ofS children: Bis fidtrer died recently’or a myuvardial infuretion, his mother died recently al the
age of 77 with aruptured abdominal aneurysm, his brother died of a myocardial infarction ond his sister
died of emphysema all within a 1-1/2 year period. Lacry has no militory service.

OBSERVATIONS:

Larry is a well-developed, well-nowrished, Caucasian male, in no acute distress, There was no evidence
of minimization, raHignalization or justification for his drug use, He was open and honest regarding his
use of substances. There was mo evidence of delusiunal thinking, thought process disorder or
hallucinations, Recentmemory was inet, however, long-term memory seemed to be cloudy at times
and he wos tangentiol on a number ofaccasions, His sye contact was excellent and his cadence
appropriate.

LABORATORY DATA:
Urine dnig sereen report dated 06/13/2019 was positive for the following drugs: aminorlanazepam,
which is e Klonopin derivative, carisoprodol which is the Soma compound that he has been prescribed,
dihydrate codeine which is consistent with the hydracodone, EPG and ETS demonstrating use of aleohol,
and he states that be bas had 2 beers 0 doy for the post30 years, However, he is willing to stop using it
and wo will cortainly 5c monitoring his ethyl glucuronide and ethyl sulfate going forward. It was
positive for fentanyl and its metabolites, The hydrocodone was also positive along with bydromorphone,
which can bea derivative of hydrocodone, He is also positive for nordazepam as well ns temazepam and
oxazepaw, which were all consistent with Vallum, He states he has not had any Valium that he is aware
of, He was in the hospitel spproximately 4 months ogo, This would be unusual but not impossible to
continue to maintain a measurable level of these medications, His validity testing demonstrate a normal
IE BCTEET.

Thr Inforenion has been dise’osed to you fons recerds pmtccted by Federal) Confidentiality rufea (0) COR Post 2}. The Federel miter prokuk you from taskhig coy
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Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.541 Page 28 of 75

NAME: INMAN, LARRY
DATE: 06/13/2019
Face 3

MAPS REPORT:

His MAPS report was reviewed in detail, Itis consistent with his namative in all respects, Itis
significant that he is filling his Soma compound on the Grst day possible fora refill. His use of
Klonopin, Some, Vicodin, and fentanyl are all well represented on bis MAPS report dated today.

ASSESSMENT;
1, Severe opialo use disorder
2. Provisioual mild sedative hypnotic disorder,
3, Provisional mild alcohol use disorder,

PLAN:

I. The patient desires to continue with this physician for his treatment,

2, have asked Lany to cut back the Klonopin from 1 mg at bedtime to 0.5 mg,

3. He is poing to stop utilizing the Soma compound and Robaxin completely. His doses are low
enough ihat no taper is required,

4, [have asked himto continue with the opiates as we bogin to stabilize his brain fromthe
profonged benzodiazepine use,

5. Heisnot to drink atall and he does understand this poing forward,

6. Retum to clinic in 2 wecks and begin comnseling here at Hope Network.

Took forward to seeing Larry in approximately 2 weeks and he has my cell phoue number should there
be any issues.

Electronically Signed ~ 07/16/2019 01:35 PM
Brice H, Boker, MD

BHB/va/5138213

DD: 6/21/2019 02:23 P.M.

DT: 6/21/2019 06:27 P.M.

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fefermatlon ta crivieally bavedtieate er proseeris any elabol ce drug suse patient,
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.542 Page 29 of 75

NAME: INMAN, LARRY
CHART NOTE: June 24, 2019

The following documents were reviewed in detail.

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The first document was dated 08/21/2016 to 08/22/2016, which is a hospital summary ofhis stay
at Munson,

‘Next is a visit from 08/91/2016 to 09/1/2016 from Munson Hospital, Itrefiects nomnal fiver
function studies.

On 09/14/2016, Munson Hospital.
07/6/2017, thres radiology reports, Munson Hospital,

07/25/2037 surgery report. Munson Hospitel Summory 01/22/2018,
Discharged at that time on 34 differentamedications. Seven out of 34 are psychoactive,

Radiology report 91/2/2018,
Surgical Assonjates 01/14/2038,

Munson Hospital 01/22/2018, which is a surgical report,

“U87I 1/2018 radiology reports.

09/25/2018 University of Michigan Dr, Park report and 10/31/2018 a letter from
Dr, Van Houzen, MAPS report confirms his norrative as there was no missing documentation or
explanations,

The prescription summaries from Walgreen's were reviewed and the date of the summary was
06/4/2019. There were 2 providers prescribing opiates 01/04/2018 where he received

395 of 7.5 Norco and then on D1/24/2018 received #60 of 10 mg Norco.

Tie aiso received fenianyl patenes 25 meg beginning 10/37/2016 utilizing 1 putch every 3 days
which fs appropriate.

Electronically Signed - 07/16/2019 01:35 PM
Bruce H. Baker, MD

BRB/ke/5140276

DD: 6/24/2019 01:29 P.M.

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CPAP=t2. A peecrol nrizalon for to releass of medical orotter iafsrmaiten & ROTSUFACTENT fer 8s purpare. ‘The Peecrat gules teatricl pny oafthe
tafoematlen ta crlzdoally inves U pate ex prosemcta any akobol ordrag ebuse pallert,

 
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.543 Page 30 of 75

NAME: INMAN, LARRY
CHART NOTE: June 24, 2019

he DSti-V Stbstitiee tise Dlkordée checklist was reviewed. The follawing criteria Mi, Inman's dicctst

Criteria 1: The Individual may take the substance in Inrge omounts over a longer period than what was
originally intended, ‘

Critexia 4d: Craving as manifested by an intense desire or urge for the drug that may occur at any time,
but is more likely in an environment where the drug previously was obtained or used.

Criteria 5: Recurrent substance use may result in failure to Fulfill major role obligations at work, school,
at hore.

Critoria 6: The individual say continue substance use despite having persistent or reeurrent social ar
interpersonol problems coused or exacerbated by the affects of the substance.

Criteria 7: Important social, occupational, recreational activities may be given up or reduced because of
the substance use, .

Critcria 8: This may teke the form of recurrent substance use in situations in which is physically
hazardows,

Criteria 10; Tolerance is signaled by requiring a markedly increased dose of the substance to achieve
the desired effect or markedly reduce affect when the usnal dose is consnmed and

Criteria 11: Withdrawal is a syndrome that occurs when blood or tisse concentrations of a substance
decline in an individual who has maintained profonged use of the substance,

‘Mr, Inman meets 8 of the criterin, The guidelines for diagnosing a severe disorder are the presence of 6
or more of these symptoms within 2 12 month period ond Mr. Inman demonstrates 8 of the 12.

ASSESSMENT:
1. Severe opiate use disorder,
2, Severe sedativo use disorder.
3. Provisional mild alcofiol use disorder.

Etectronioally Signed - 07/16/2019 01:35 PM
Bruce A, Baker, MD

BHB/irp/5140293

DP: 6/24/2019 01;35 P.M.

DT: 6/24/2019 09:14 P.M.

This nfonreston bes Seen dlclosed to you Sem reeandapmtseied by Fedrral Confilentiatlry ater (2 CER Pat 2), Tha Fedsel wlca prekat sou Eommebig any
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CUR Pert2, Agercral echsdsatlen for tba rebezsa of medical orothes infermailen i NOT SUFFICIENT fet tla prrposs. Tha Federal russ reabied any ta oF ths
Esfomatien to crbvenally foveatpale ot resoecto ay alecholor drug sbusa pavert,
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.544 Page 31 of 75

HOPESONETWORK

CENTER FOR RECOVFRY

Summary

Mr. Larry Inman sent an Inappropriate text message to Lisa (lobbyist) regarding finances, Mr. Inman has
been evaluated and awalting treatment far possible extortion secondary to his text message.

Mr. Inman has been under the care of Br. Van Houzen in Traverse City for years prior to his recent
retirement, The care rendered to Mr. Inman consisted of seven different psychoactive substances atthe
time of his texting, Difficulty arises with causality of his inappropriate request, as he was utilizing
opiates, muscle relaxants, sedatives (benzodiazepines), and Ingesting alcohal as he has done routinaly in

 

the past.

a 0
Bruce H, Baker, MD “~~ pate: 4 It IF
BHB/ranw

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Petoskey, MI 977

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Fax: 616.279.3722

www. hoponotwerkerg/racavan

 
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.545 Page 32 of 75

HOPESENETWORK
CENTER FOR RECOVERY

Conclusion

Mr. Larry Inman has been under the regulatory care of Dr. Van Houzan for his chronic pain and general
health. Mr. Inman has been preserlbed seven different psychotropic substances.

Mr, Inman inappropriately communicated with a lobbyist while utillzing the medication. The
medications are not compatible with long-term use In human beings. Mir. Jaman continued to Ingest
alcahal [n his usual fashion, The combination of age (less tolerance to alcohol), medication used, and
hearding of oplates have been detrimental to Mr. Inman's profession as well as his freedom.

QM, oleh

Bruce H. Baker, MD Date:
BH8/mnw

 

Grend Rapid

3210 Eagle Run Drive N
wen oe Se THN I
Grand Rapids, Mi, £952

Polozke

S16 Petoskey Stree
Petoskey, M1977

Treverse Cr

$00 Cottagaviow Dav
Traverse City, MIA943.

Phona 616.279.972
Fan: 616,279.972.

wri. hoponalorkorg/rocover;

 
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19, | P 33 of 75
Evan? °S

HOPE NETWORK
MAPS

HOPE-000135
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.547 Page 34 of 75

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& Larry Inman, 65M

   

Support QU 3 Se pseNHTE

 

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Larry inman
Risk Indicators

NARX SCORES OVERDOSE RISK SCORE ADDITIONAL RISK INDICATORS {4 }

. . , (3) >= 5 opioid or sedative providers in any
Narcotic Sedative Stimulant 3 7 0 year in the last 2 years
(Range 000-999)
Explanation and Guidanca (nan. ; Explanallan and Guidance (/narx- Explanation and Guidance (/nan-
cantent/contanUnarxcare2/oxplain-thaso-scoros, pdt} eontant/contonUnareara2/axplain-overdaso-risk-score.pdl) contenU/contentnarcaro2/axplain-thosa-rod-flags. pdf}

This NorxCaro report Is based on search eviteria supplied and tha data entered by the dispensing pharmacy, For more Informallon about any prescription, plonse contact the dispensing
pharmacy or the prescriber. NarCare scores and reports ara Infanded to ald, not roplaca, modical decision making. None of tha Information prasentad should be used as sola
Justification for providing or rafusing to provide medications, Tho Information on this: roport Is not warranted as accurata or complate,

Graphs
RX GRAPH @ Narcotic Sodatlva Stmulant EB other
All Prescribers

   
  
 
 
  
  

Presepibare
6 - Robart M Dotterro
6 -John G Bizon, MO

 

  
  

  
   
 

3 - Christopher A Laf
2 - Russall N Van Hou
1+ Mark D Richardson
Timolina

  
   

   

  
  

Oa/t4/2019 2m

 

 

4 : . - . . nr oo - - oe mo »
Morphine MgEq (MME)
320 ss . - oe ee me 1 ee ae ee me . Oak Ae eke meme Ha eee me kee ee tne ne wt kee
200 .4 .. . ne . oe : tee . ‘
“| ial mali, Ae. |
0 BEG pes er ec. coe. Be, tom.
miming 77 re ee pg gore cee corer na “. - ee eee xo
4 : ; , . . “ : »
Lorazopam MgEq {LME}
ee Hoe ee token - Te teem ne eee mee ee ne cee ee vmae
10
2
a
Timettna O6/13 am 6m ty 2y

‘ HOPE-000136
— ;
CSS Lt our Ut) RJD ECF NO. osTied Tiivjty” PagelD.548° Page 35 of 75

“Per CDC guidance, the MME. conversion factors prescribe  wovided as part of tha medication-assisted treatment for opiok ” disorder should not be used to benchmark agaist
dosage thresholds meant for opioids prescribed for pain. B¢ —_orphine products have no agreed upon morphine equivalency, _,’as partial opiold agonists, ara not expectedto.be =~
associated with overdose risk in the same dose-dependent manner as doses for full agonist opioids. MME = morphine milligram equivalents. LME = Lorazepam milligram equivalents. mg = *
dose in milligrams.

Summary
Summary Narcotics* (excluding buprenorphine) Sedatives* : Buprenorphine*
Total Prescriptions: 49 : Current Qty: 0 Current Oty: ot > Current Qty: 0
Total Prescribers: 6 ‘ Current MME/day: 0.00 ; Current LME/day: 2.28 | Current mg/day: 0.00
Total Pharmacies: 1 t 30 Day Avg MME/day: 7.00 } 30 Day Avg LME/day: 1.75 : 30 Day Avg mg/day: 0.00
4 | r
Rx Data
PRESCRIPTIONS
Total Prescriptions: 49
Total Private Pay: 0
FillDate (ID Written Drug Qty Days Prescriber Rx# Pharmacy Refill DallyDose*  PymtType PMP
osing2019 1 05/13/2019 Clonazepam 0.5 Mg Tablet 60 30 Ma Ric 648231 Wal(0304) 1 2.00 LME Comm Ins MI
05/13/2019 1 05/13/2019 Clonazepam 0.5 Mg Tabiet 60 30 Ma Ric 648231 Wal (0304) 0 2.00 LME Comm Ins Ml
46/2019 1 04/18/2019 Carisoprodol 350 Mg Tablet 90 90 Ma Ric 642901 Wal(0304) 1 0.28 LME Comm Ins Mi
oamai2019 1 04/18/2019 Carisoprodol 350 Mg Tablet 5 5 Ma Ric 642901 Wal(0304) 0 0.28 LME Comm Ins MI
0416/2019 1 04/18/2019 Hydrocodone-Acetamin 7.5-325 180 30 Ma Ric 642128 Wal (0304) 0 45.00 MME Comm Ins Mi
oaei2019 1 04/15/2019 Fentanyl 25 Mcg/hr Patch 10 ©—.30 Ma Ric 642120 Wal (0304) 0 60.00 MME Comm ins Mi
03/11/2019 1 03/10/2019 Fentany! 25 Mcg/hr Patch 40 30 Ma Ric 633900 Wal (0304) 0 60,00 MME = Comm Ins MI
03/10/2019 1 03/0/2019 Hydrocodone-Acetamin 7.5-325 480 30 Ma Ric 633901 Wal(0304) 0 45.00 MME = Comm Ins MI
3/03/2019 1 12/26/2018 Clonazepam 0.5 Mg Tablet 180 90 Ru Van 617837 Wal(0304) 1 2.00 LME Comm Ins Ml
02/22/2019 1 01/21/2019 Fentanyl 25 Mog/hr Patch 10 =. 30 Ru Van 630606 Wal (0304) 0 60.00 MME Comm Ins Mi
0127/2019 1 01/27/2019 Hydrocodone-Acetamin 7.5-325 180 30 Ru Van 624711 Wal(0304) 0 45.00 MME = Comm Ins MI
0127/2019 1 01/27/2019 Fentanyl 25 Meg/nr Patch 10 =. 30 Ru Van 624710 Wal (0304) 0 60.00MME Commins MI
1052019 1 «10/31/2018 Carisoprodol 350 Mg Tablet 90 8690 Ru Van 605494 Wai(0304) 1 0.28 LME Comm Ins MI
12262018 1 12/26/2018 Clonazepam 0.5 Mg Tablet 480 © 90 Ru Van 617837 Wal(0304) 0 2.00 LME Comm ins MI
12/26/2018 1 11/26/2018 Fentanyi 25 Mog/hr Patch 40 30 Ru Van 617590 Wai(0304) 0 60.00 MME Commins Ml
42/26/2018 1 11/26/2018 Hydracodone-Acetamin 75-325 180 30 Ru Van 617589 Wal(0304) 0 45.00MME Comm Ins Mi
4226/2018 1 08/31/2018 Carisoprodol 250 Mg Tablet 90 48690 Ru Van 590843 Wal (0304) 1 0.20 LME Comm Ins MI
44612018 1 11/26/2018 Fentanyl 26 Mog/nr Patch 10 30 Ru Van 610901 Wal (0304) 0 60.00MME = Commins MI
44/13/2018 1 10/81/2018 Hydrocodone-Acetamin 7.5-325 180 30 Ru Van 605497 Wal(0304) 0 45.00 MME = Comm ins MI
41/01/2018 1 10/31/2018 Carisoprodol 350 Mg Tablet 90 =. 90 Ru Van 605494 Wal{0304) 0 0.28 LME Comm Ins Mi
11/01/2018 1 10/31/2018 Fentanyl 26 Meg/hr Patch 10 30 Ru Van 605495 Wal (0304) 0 60.00 MME Comm Ins MI
10/22/2018 1 09/14/2018 Hydrocodone-Acetamin 7.5-325 180 30 Ru Van 602734 Wal(0304) 0 45.00 MME Comm Ins Ml
40/15/2018 4 06/25/2018 Clonazepam 0.5 Mg Tablet 180 90 Ru Van 601148 Wal(0304) 0 2.00 LME Comm Ins MI
soM22018 1 06/25/2018 Clonazepam 1 Mg Tablet 90 «6-90 Ru Van 579728 Wal(0304) 1 2.00 LME Comm Ins MI
paia/2018 1 09/18/2018 Hydrocodone-Acetamin 7.6-325 180 30 Ru Van 594740 Wal (0304) 0 45.00 MME Comm Ins MI
08/31/2018 1 08/31/2018 Carisoprodol 250 Mg Tablet 9 © 90 Ru Van 590843 Wal(0304) 0 0.20 LME Comm Ins Mi
oa/ia/2018 1 07/18/2018 Hydrocedone-Acetamin 75-325 100 26 Ru Van 588125 Wai(0304) 0 30.00 MME Comm Ins MI
07/18/2018 1 07/18/2018 Hydrocodone-Acetamin 7.5-325 100.25 Ru Van 581085 Wal (0304) 0 30.00 MME Comm Ins MI
07/12/2018 1 06/25/2018 Clonazepam 1 Mg Tablet 90 90 Ru Van 579728 Wal(0304) 0 2.00 LME Comm Ins Mi
06/25/2018 1 06/25/2018 Androgal 1.62% Gel Pump 450 90 Ru Van 575794 Wal(0304) 0 Comm Ins MI
06/23/2018 1 05/18/2018 Hydrocodone-Acetamin 7.5-325 400-25 Ru Van 575792 Wal(0304) 0 30.00 MME Comm Ins MI
06/18/2018 1 05/18/2018 Hydrocodone-Acetamin 7.5-325 100-25 Ru Van 568122 Wal (0304) 0 30.00 MME Comm Ins MI
» 04/15/2018 1 01/24/2018 Clonazepam 0.5 Mg Tablet 180 90 Ru Van 560670 Wal(0304) 0 2.00 LME Comm ins MI
a 04/15/2018 1 01/15/2018 Carisoprodol 250 Mg Tablet 30 80 Ru Van 545657 Wal (0304) 1 0.20 LME Comm Ins Mi
03/28/2018 1 03/28/2018 Hydrocadone-Acetamin 7.5-325 100 30 Ru Van 557062 Wal{0304) 0 25.00MME = Comm Ins MI
ozie/2018 1 02/02/2018 Hydrocodone-Acetamin 7.5-325 100 16 Ru Van 548530 Wal (0304) 0 46.88 MME Comm Ins MI
«02/04/2018 1 01/15/2018 Carisoprodol 250 Mg Tablet 90 = 90 Ru Van 545657 Wal (0304) 0 0.20 LME Comm Ins Ml
01/25/2018 1 01/25/2018 Hydrocodone-Acetamin 10-325 Mg 60 7 Ch Laf 543625 Wal(0304) 0 85.71 MME Comm Ins Ml
» 01/24/2018 1 01/24/2018 Clonazepam 0.5 Mg Tablet 180 90 Ru Van 543407 Wal(0304) 0 2.00 LME Comm Ins MI
0105/2018 1 91/04/2018 +Hydrocodone-Acatamin 7.5-325 125 30 Da Lat 539121 Wal(0304) 0 31.25 MME Comm Ins Ml

HOPE-000137
 

Case CITSscr-O0ri7-RIT_ ECF No. ostiléd 1TI/10/19" PagelD.549 Page 36 of /5

FilDato ID Wetton Drug it Qty{ Days Proseriher Ref £ ‘acy Rofill Dally Dozo* PymiTypa PMP
« tpeagi7 4 12N3I2017 Promethazine-Codelne Syrup 240; 10 doBle 534995 Wal(0304) 4 7.20MME Commins —s MI
WAST 4 12HW2017 | Promathazine-Cadeina Syuup 240| 10 Jo Biz 634935 Wal(0304) 0 7.20 MME Gornm [ns MI
1iA5i2017 4 08/25/2017 Carisoprodot 250 Mg Tablet $0 ' 00 Ru Van 509407 Wal(0304) 1 0.20 LME Comm Ing Mi
Wi082017 41 08/25/2017 Clonazepam 0.5 Mg Tablot 180 | 90 Ru Van 626039 Wal(0304) 0 2.00 LME Comm ins Mi
TNB2017 1 10H3/2017 Hydrocodone-Acatamin 7.5-325 125 4690 Da Lat 620719 Wal(0304) oO 31.25 MME Comm ins Mi
OS2H2017 1 08/26/2017 Carlssprodo] 250 Mg Tablet 85 80 Ru Van 509407 Wal(0304) 0 0.19 LME Comm Ings Mi
O8/25/2017 41 05/25/2017 Clonazepam 0,5 Mg Tablat 180 = 90 Ru Van 509408 Wal (0904) 0 2.00 LME Comm Ins Ml
OBNT2017 4 08/07/2017 HKydrocodone-Acatamin 10-925 Mg 10016 Ru Van 505281 Wal{0304) 0 62.50 MME Comm ins Mi
OBV2Z0I7 1 o 100.COMME Commins MI

O8/01/2017 Hydrocodons-Acetamin 10-325 Mg 40 4 Ro Dot 604090 Wal (0304)
4 : : . . -

“Per COC guidance, tha MME converston factors prescribod or provided as part of the medication-nssisted traatmentfor oplold wea disordar should not be used to benchmark agalnst
dosage thresholds moant for opioids proscribad for paln, Buprenorphina products have no agracd upon morphing equivalency, and as partial opiold agonists, are not expectad to bo

dosenau ovardesa risk in tha same dose-dependent mannor as dosos for {ull agonist oplolds, MME = morphine milligram equivalants, LME = Lorazepam milligram equivalents. mg =
jose In milligrams.

Providors
Total Providers: 6
Namo Addross Clly State @pcodio Phono
Rabert M Dotlerror, MB 1105 6th St Travorse City MI 40684 .
Russell N Van Houzen, MD 10161 E Pickwick Ct Sta E Traverse City MI 45664 .
John G Blzon, MD 3600 Capital Ava Sw Ste 204 Batila Creak MI 49015 -
Dantol T Lathrop, Dpm 620 Woodmars Ave Travarse City Mi 49086 -
Christophar A Lafond 1221 Bth St Ste 306 Traverse Clty Mi 40664 .
Mark 0 Richardson, MD 3997 W Front St Slo E Travergo Cily MI 40664-7949 -
4 b
Pharmacies
Total Pharmacies: 1
Nama Address Clty Stato Zipcode Phono
Walgrean Co. 0304) 975 W South Alport Rd Dba:

Walgroans #12894 ‘Travorse Clty MI 40886 (231) 946-se40
4 men ; ; . .

Proscribor Dolegate - Uniiconsad:
Please reviow the entirety of this report to confirm that the datalls of tha report ara of the roquested patient. Thia information shall only ba used for the purpose of providing medical or
pharmacovitical treatment to 2 bona fide curront patient. This information shall not be provided to any othor person or entity except by order of a court of competant jurisdiction,

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° APPRISS* PMP AWARXE - MAPS
© PMP Aware HEALTH Michigan Automated Prescription System
BPL-MAPS@Michigan.gov
Lansing, Ml

844-364-4767 (tol:8443644767 )

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HOPE-000138
   

Oo = Ce" @
Patient Instructions - Hospital

Munson Medical Center

1105 Sixth Street
Traverse City, Michizan 49684
231-935-5000

Name: INMAN, LARRY CHARLES Date of Birth: 04/10/1954 _ Admission Date : 01/22/2018
Primary Care Doctor : VanHouzen MD, Primary Care Doctor Phone: (231) 935-0888
Russell N

Most Recent Blood Pressure: 144/80

Height: 6' 0"
Weight: 207.5 Ibs
BMI: 28.2

Follow Up after Discharge from the Hospital:

If'a date and time is not listed for a specific follow up appointment below, please contact the provider to
schedule that appointment.

 

With: When: Address/Phone: Comments:

 

Christopher LaFond, {Within 1 to 2 weeks MHC Traverse General |Patient to schedule
MD Surgery & Trauma Care |appointment

1221 Sixth St
Suite 306
231-935-2400
Traverse City, MI
49684

(231) 935-2400

 

 

 

 

 

 

Instructions to Follow at Home:

 

Instructions to Follow at Home

 

 

Topic Instructions ; Details
Activity after Walking is encouraged
discharge You may climb stairs

 

Call your doctor |Nausea/vomiting
Temperature preater than
101.5F (38.5 C)

 

 

 

 

Name: INMAN, LARRY CHARLES DOB: 04/10/1954 Jan/25/2018 11:17:30
1of7

HOPE-000247
Case

©

Out of control pain
Signs of infection

 

Diet after
discharge

{Resume home diet

Drink plenty of fluids. Chew all foods well. Light

- tmeals of soft foods recommended to start, then as

tolerated,

 

 

Home activity No heayy, ifting/straining over 20 Ibs for 6 weeks then resume activities as
liftingAvt bearing St tolerated.

restrictions

Home bowel May use over-counter bowel |if needed for constipation

Inanagement medications

 

.JHome instructions
(specify)

contact numbers

Should you have any questions or concerns, you
may cail Traverse General Surgery nurses' station
at 231-935-2417, After 5:00 pm, call Munson
Medical Center at 231-935-5000 and ask for your
doctor. There is always a doctor on call for our
practice,

 

Home pain
management

May use over-the-counter
Acetaminophen

May use over-the-counter
NSAID's

Use narcotic prescriptions
as ordered

If no medical condition limiting use of these
over-the-counter medications, May use up to
4000 mg of acetaminophen (Tylenol) in 24 hrs.

 

Incision
(post-surgical)
care

Incision care

wash daily with soap and water. Skin glue may
have been used on your incision sites. If drainage
occurs, cover the incision(s) with a light dressing.

May shower as desired. Call if concerns.

 

Restrictions -
driving

 

No driving while on pain
medication
You may resume driving

 

 

in 5-7 days when off pain pills and comfortable

 

 

- You were given the following Patient Education Materials during your visit.

Electronic copies of these Patient Instructions and your Patient Education materials are available in
MyHeaititinfo, the Munson Healthcare Patient Portal.
For more information please visit: http://munsonhealthcare.org/myhealthinfo

Hernia Repair Surgery; Anatomy of the Digestive System

Name: INMAN, LARRY CHARLES

2of7

DOB: 04/10/1954

Jané25/20718 11:17:30

    

1:19-cr-00117-RJJ_ ECF NO. 63 Ted TITUS PAVSISST POS so OTe en
in

HOPE-G00248
Case 1:19-cr-00117-RJJ- ECF NO. OS THe TITUS Pager one Pade oo Oe

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Atytrn we ty ry ah,
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= ve “NBS merchey Scat

Go to the next page for your complete medication list

 

Name: INMAN, LARRY CHARLES DOB: 04/10/1954 dan/25/2018 44:17:30
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HOPE-000249
Case 1:19-cr-00117-RJJ ECF No-63Tiedirioris Page 333" Paye fuuT

 

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Medication Safety Tips:

* Share this medication list with your primary care provider at your next visit, and always carry an
updated medication/allergy list with you in the event of emergency situations.

¢ Many over the counter medications contain acetaminophen-make sure you do not take more than
4000 mg per day of acetaminophen. Some patients such as those with severe liver disease should not
take any acetaminophen-containing products; check with your doctor, nurse or pharmacist if you have

questions,

Medication Instructions:

@

QB

@

° Ifany medications were stopped during this hospitalization they will be listed directly above the
medication instructions, oe
° Take only the medications you see listed below. Please note: The amount of medication or the number
of times per day may have changed.
* Do not take any other medicines (including over-the-counter medicine) unless instructed to do so by
your primary care provider in the future.

 

 

 

 

Medication How Do [ take this Notes to Patient When did I get this
medicine? medication last?
cephalexin (Keflex [500 mg =1 cap, by mouth, UgY7
300 mg oral capsule} |2 times a day, for 2 day(s) 1S
docusate (Colace 100 |100 mg = 1 cap, by mouth,
mg oral capsule) 2 times a day as needed for OS47
for constipation, for 21
day(s) Ves
with plenty of water
ibuprofen (ibuprofen |600 mg = I tab(s), by ig
600 mg oral tablet) mouth, every 6 hours Uzi
: with food or milk Vos

 

senna (senna 17.2 mg
oral tablet)

17.2 mg = 1 tab(s), by
mouth, 2 times a day as
needed for for constipation

“

 

acetaminophen-

1-2 Tab, by mouth, every 4

 

 

 

Thera eye 1 gtts ou prn qid

 

HYDROcodone hours as needed for ZO
(Norco 10 mg-325 |Moderate Pain zs
mg oral tablet)

See Instructions

 

 

 

Name: INMAN, LARRY CHARLES

40f7

DOB: 04/10/1954

dan/25/2018 11:17:30

HOPE-000250
Case 1:19-cr-00117-RJJ “ECF NO. OsTned Tii0rTs Page set Pade st OT ee

 

Dp

 

albuterol (Ventolin
HFA 90 mee/inh
inhalation aerosol)

2 puff(s), inhaled, every 4
hours as needed for for
wheezing

 

 

 

ascorbic acid 500 mg = 1 tab(s), by

(Vitamin C 500 mg mouth, every morning a
oral tablet)

aspirin (aspirin 325 |325 mg= | tab(s), by ONT
mg orai tablet) mouth, every morning Las
atorvastatin 40 mg = 1 tab(s), by mouth, O847
(atorvastatin 40 mg every morning \/zg
oral tablet)

 

bifidobacterium-
lactobacillus
(Probiotic Formula)

1 cap, by mouth, every
moming «

 

budesonide-
formoterol
(Symbicort 160 mcg-
4,5 meg/inh
inhalation aerosol)

2 pufi(s), inhaled, as needed
~ unscheduled

XIN

 

carisoprodol (Soma

250 mg= | tab(s), by

 

 

i
250 mg oral tablet) | mouth, every day at bedtime ye
cholecalciferol 2,000 IU = 1 tab(s), by
(Vitamin D3 2000 | mouth, every morning a
intl units oral tablet}
clonazePAM 1 mg = 2 tab(s), by mouth, Z156
(clonazePAM 0.5 mg |every day at bedtime i/2
oral tablet) 4

 

dapaglifiozin
(Farxiga 10 mg oral
tablet)

10 mg = 1 tab(s), by mouth,
every morning

“

 

diphenhydrAMINE
(diphenhydrAMINE
25 mg oral capsule)

25 mg = | cap, by mouth,
every day at bedtime as
needed for for insomnia

oO

 

enalapril (enalapril
20 mg oral tablet)

40 mg =2 tab(s), by mouth,
every morning

O47
{zs

 

fexofenadine-
pseudoephedrine

 

Name: INMAN, LARRY CHARLES

5 off,

day

 

DOB: 04/10/1954

1 tab(s), by mouth, 2 times a|-

 

 

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dan/25/2018 11:17:30

 

HOPE-000251
 

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extended refease)

glimepiride (Amaryl |/4 mg = 1 tab(s), by mouth, 2 cou7
4 mg oral tablet) times a day "Wes
hydroCHLOROthiazi ; 12.5 mg= 1 cap, by mouth,

de every moming oBY7
(hydroCHLOROthiaz 1/28
ide 12.5 mg oral

capsule)

latanoprost 1 Drops, both eyes, every

ophthalmic morning O847
(latanoprost 0.005%

ophthalmic solution) es
metFORMIN 500 mg = 1 tab(s), by >
(metFORMIN 500 | mouth, 2 times a day B47
me oral tablet, W2s

 

methocarbamol
{methocarbamol 750
mg oral tablet)

730 mg = 1 tab(s), by
mouth, 4 times a day as
needed for Muscle Spasms

 

multiple vitamin
(SAM) (Thera)

1 tab(s), by mouth, every
morning

 

multivitamin with
minerals (Centrum
Silver oral tablet)

1 tab(s), by mouth, every
moring

 

naloxegol (Movantik

25 mg = | tab(s), by mouth,

 

 

 

 

 

Name: INMAN, LARRY CHARLES

6 of?

DOB; 04/10/1954

 

25 mg oral tablet) every morning as needed for
as needed LO
Only takes when he takes
norco
omepa- 3 1,000 mg= 1 cap, by
polyunsaturated fatty |mouth, every morning
acids (Fish Oil 1000 Lo
mg oral capsule)
oxymetazoline nasal |2 spray(s), nasal, every
(Afrin 0.05% nasal |morning Lo
spray)
pantoprazole 40 mg = 1 tab(s), by mouth, OBUT
(pantoprazole 40 mg |2 times a day
oral delayed release Ws

 

Jan/25/2018 14:17:40

 

-RJJ ECF NO. 63TIed TIVI0/IS PageiID sss Page4zono

© .

HOPE-000252
 

 

 

 

 

20.25 mg/actuation
(1.62%) transdermal
gel)

tablet)

predniSONE 20 mg = 2 tab(s), by mouth,

(predniSONE 10 mg |every day as needed for a

oral tablet) swelling, for 7 day(s)

SlTagtiptin Ganuvia |100 mg= 1 tab(s), by Bez

100 mg oral tablet) |mouth, every morning Ves

tadalafil (Cialis 5 mg |5 mg = 1 tab(s), by mouth,

oral tablet) every day as needed for for oO
erectile dysfunction

testosterone 2 pump, transDermal, every

(AndroGel Pump morning

 

verapamil (verapamil
240 mg/12 hours oral
tablet, extended
release)

240 mg = 1 tab(s), by
mouth, every morning

 

verapamil (verapamil
180 mg/i2 hours oral
tablet, extended
release)

 

 

180 mg = 1 tab(s), by
mouth, every day at bedtime

 

Vay

 

& Qise

 

 

The following prescriptions were printed:

acetaminophen-HYDROcodone (Norco 10 m

cephalexin (Keflex 500 mg oral capsule}, 4 Cap
docusate (Colace 100 mg oral capsule), 42 Cap
ibuprofen (ibuprofen 600 mg oral tablet}, 40 Tab
senna (senna 17.2 mg oral tablet), 36 Tab

Allergies:

Esmolol Hydrochloride; Ambien; Norvasc

Name: INMAN, LARRY CHARLES
7of7

DOB: O4/160/1954

8-325 mg oral tablet}, 60 Tab

Jan/26/2018 11:17:30

HOPE-000253
~@

 

 

 

tablet)

predniSONE 20 mg = 2 tab(s), by mouth,

{predniSONE 10 mg |every day as needed for LO
oral tablet) swelling, for 7 day(s) .
SITagliptin Januvia }100 mg=1 tab(s), by guyz
100 mg oral tablet) |mouth, every morning

 

tadalafil (Cialis 5 mg

5 mg = 1 tab(s), by mouth,

 

20.25 mg/actuation
(1.62%) transdermal
gel)

oral tablet) every day as needed for for a
erectile dysfunction

testosterone 2 pump, transDermal, every

(AndroGel Pump moming

 

verapamil (verapamil
240 mg/12 hours oral
tablet, extended
release)

240 mg = 1 tab(s), by
mouth, every morning

 

verapamil (verapamil
180 mg/12 hours oral
tablet, extended
release)

 

 

180 mg = 1 tab(s), by
mouth, every day at bedtime

 

liad

 

@ Ose

 

 

The following prescriptions were printed:

acetaminophen-HYDROcodone (Norco 10 m

cephalexin (Keflex 500 mg oral capsule), 4 Cap
docusate (Colace 100 mg oral capsule), 42 Cap
ibuprofen (ibuprafen 600 mg oral tablet), 40 Tab
senna (senna 17.2 mg oral tablet}, 36 Tab

Allergies:

Esmolol Hydrochloride; Ambien; Norvasc

Name: INMAN, LARRY CHARLES

7 of?

2-325 mg oral tablet), 60 Tab

DOB: 04/10/1954

Jan/25/2018 11:17:30

HOPE-000253
19-cr-00117-RJJ ECF No. 63 filed 1/10 a oe ia 45 of 75

Case 1

€+€000-4dOH

Walgreens

Patient Info:

Phone:
Birth:

Patient
Date of
Sender:

Prescription
Number

O571190-12894

0572190-12894

9571190-12654

3571190+12894

3572922 -12894

LARRY C INHAN
8971 CROCKETT RD
WILLIAMSBURG, MI 49690

(231} 938-1415
04/10/1954
H

Medication

TBUPROFEN B800MG TABLETS
Your insurance saved you $80.01

IBUPROFEN S00NG TABLETS
Your insurance saved you $61.49

IBUPROFEN 800MG TABLETS
Your insurance saved you $10.79

IBUPROFEN g00NG TABLETS
Your insurance saved you $61.45

2572822-12894 ATORVASTATIN 40NG TABLETS

Your insurance saved you $619.26

ATORVASTATIN 40MG TASLETS

Your insurance saved you $430,695

1572822-12894 ATORVASTATIN 40MG TASLETS

Your insurance saved you $28.84

npe

69238-1103-05

69238-1103-05

69238-1103-05

69238-1103-05

55111-0123-90

55111-0123-90

55111-0123~+90

Confidential Patient Information
Prescription Profile
01/01/2017 Lhrough 06/04/2019

RPh prescriber

you vaMHOUZEN, Re
pDcZ VANHOUZEN, R.

JH VANHOUZEN, R.

KTH VANHOUZEN, R.

KJH VANHOQUZEN, R.

Sus VANHCUZEN, R.

Rok VANHOUZEN, R.

Report date/time: 06/04/2019

Store Info; $75 W SOUTH AIRPORT RD

TRAVERSE CITY, MI 49686
(231) 946-5840
Ings, Plan{s) Bate of
Claim Refi (s) Service Quantity
urpcP f/f 01/05/19 270.000
OPNSFQW
HIpcPR O/ 06/03/18 270.000
WRAXWRE
mrace / 0/04/18 15.000
SAH3R1H
miscp) = / 0/12/18 270.000
2HWNZQ
Total Fillings: 4 Subtotal: 825.000.
MInCe Of 03/08/19 85.000
PTL3PHP
urince) 6 6/ 06/11/18 90,000
MNMTLDK
mIscp = / 08/03/18 5.000
DXRDKHL

Page: 18
04:00 PH

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19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.559 Page 46 of 75

Case 1

916000-4dOH

1605455-12994

1605496-12894

Walgreens

Patient Info:

Patient Phone:
Date of Birth:
Gender;

Prescription
Number

LARRY C INMAN
8971 CROCKETT RD
WILLIAMSBURG, MI 49690

{231)938-1418

04/20/1954
M

Medication

6605454-12894 CARISOPRODOL 3S0MG TABLETS

Your insurance saved you $44.65

9605494+12894 CARISOPRODOL 350MG TABLETS

Your insurance saved you $43.79

FENTANYL 25MCG/HR PATCH
Your insurance saved you $122.99

3605496-12894 ESCITALOPRAM 10MG TABLETS
Your insurance saved you $503.89

1605496-128594 ESCITALOPRAM 10MG TABLETS
Your insurance saved you 5503.89

ESCITALOPRAM 10MG TABLETS
Your insurance saved you $511.69

Confidential Patient Information
Preseription Profile
01/01/2017 through 06/04/2019

No REL Prescriber
09591-5513-05 KH VANHOUZEN, R.
00591-5523-05 KJH VANEOUZEN, R.
00406-9025-76 KuH VANHOUZEN, R.
69097-0948-05 — KJH VANHOUZEN, R.
69097-0846-05 DCZ VANHOUZEN, R.
69097-0846-05 KJH VANHOUZEN, R.

Page: 25
Report date/time; 06/04/2015 04:00 PH

Store Info; 975 W SOUTH AIRPORT RD
TRAVERSE CITY, MI 49686
(231}946-Sa40

Ins. Plan{s} Data of _—
Claim Refy{(s} Service Quantity Price
mrpcp / 01/05/19 90.000 6.34
SXDDHXQ
Hrpcp =f 21ifo1/1a 90.000 7.20
BAQHLDD
Total Fillings: 2 Subtotal: 180.000 13.54
mMisce) | / 11/01/16 to.oco 45.00
NDSHXHW
Total Fillings: 1 Subtotal: 20.000 15.00
Mince = / 03/03/29 90.000 15.00
SWEXCND
MTBcEe Of os/1a/19 90.000 15.00
TKF39TF
ursep =f 11/01/18 90.000 7.20
FQANICE

 
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Walgreens . 5 Page: 8
Confidential Patient Information Report date/time: 06/04/2019 04:08 PM
Prescription Profile

01/01/2018 through 12/31/2018

Patient Info: LARRY C INMAN
83971 CROCKETT RD

WILLIAMSBURG, MI 419690

Store Info: 975 W SOUTH AIRPORT RD
TRAVERSE CITY, MI 49686
(231) 946-5840

Patient Phone: (231) 936-1418

 

 

19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.560 Page 47 of 75

Case 1

Date of Birth: 04/10/1954
Gender: M
. 1}
Prescription Ins. Plan(s) Date of we
Number Medication NDC RPh Prescriber Claim Ref#(s) Service Quantity Price
0545657-12894 CARISOPRODOL 250MG TABLETS 42543-0434-01 KJH 04/15/18 90.000 15,00
Your insurance saved you $295.19
Total Fillings: 2 Subtotal: 189.000 30.00
0548530-12894 HYDROCODONE/ACETAMINOPHEN 7.5-325 T 00591-2605-05 DCZ VANHOUZEN, R. MIBCP £ 02/16/18 100.000 15.00
Your insurance saved you $142.59 F333CFQ
9549722-12894 ALLEGRA-D 12HR TABLETS 30'S (OTC) 41167-4310-06 KOH VANHOUZEN, R. CASH f 02/22/18 180.090 191.53
Total Fillings: 1 Subtotal: 180.000 191.93
2550022-12894 PROMETHAZINE 25MG TABLETS 10702-0003-50 KJH BIZON, J. MIBCP f 02/23/18 30.000 2.85
Your insurance saved you $16.14 FINWL97
1550022-12894 PROMETHAZINE 25MG TABLETS 10702-0003-50 KJH BIZON, J. MIBCP / 06/25/18 30.000 2.85
Your insurance saved you $16.14 23XACLL

8¢£000-SdOH

 

Total Fillings: 2

 
19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.561 Page 48 of 75

Case 1

L€e000-4SdOH

 

Walgreens . 7 Page: 11
Confidential Patient Information Report date/time: 06/04/2019 04:08 PY
Prescription Profile
01/01/2018 through 12/31/2018
Patient Info: LARRY C INMAN Store Info: 975 W SOUTH AIRPORT RD
8971 CROCKETT RD TRAVERSE CITY, MI 49686
WILLIAMSBURG, MI 49690 (231) 946-5840
Patient Phone: (231) 938-1418
Date of Birth: 04/10/1954
Gender: M
4
Prescription Ins. Plan(s) Date of Rd
Number Medication NDC RPh Prescriber Claim Ref#{s) Service Quantity Price
0556346-12894 IBUPROFEN 600MG TABLETS 69238-1102-05 DCZ LAFOND, C. MIBCP f 03/25/18 40.000 1.95
Your insurance saved you $12.74 DKCPSNN
Total Fillings: 1 Subtotal; 40.000 1.95
0557062-128594 HYDROCODONE/ACETAMINOPHEN 92$-325.T. 00591-2605-05 KOH VANHOUZEN, R. MIBCP / 03/28/18 100.000 15.00
Your insurance saved you $142.59 SATWLER
32560608-12894 ALLEGRA-D 125R TABLETS 30'S (OTC) 41167-4310-06 KoH VANHOUZEN, R. CASH / 04/14/18 90.000 95 oe
3560608-12894 ALLEGRA-D 12HR TABLETS 30'S (OTC) 41167-4310-06 Dcz VANHOUZEN, R. CASH / 06/03/18 90.000 95.97
Total Fillings: 2 Subtotal: 180.000 191.94
1560670-12894 CLONAZEPAM 0.5MG TABLETS 16729-0136-16 KJH VANHOCUZEN, R, MIBCP / 04/15/18 180.000 4.95
Your insurance saved you $75.94 DLCWKFP

 

 
19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.562 Page 49 of 75

Case 1

€¢€000-4dOH

 

Walgreens . ; Page: 1
Confidential Patient Information Report date/time: 06/04/2019 04:08 Pt
Prescription Profile
01/01/2018 through 12/31/2018
Patient Info: LARRY C INMAN Store Info: 975 W SOUTH AIRPORT RD
8971 CROCKETT RD TRAVERSE CITY, MI 49686
WILLIAMSBURG, MI 49690 (231) 946-5840
Patient Phone: (231)938-1418
Date of Birth: 04/10/1954
Gender: M
Prescription Ins. Plan(s) Date of
Number Medication NDC RPh Prescriber Claim Ref#(s) Service Quantity Price
0575792-12894 HYDROCODONE/ACETAMINOPHEN 7.5-325 T 00591-2605-05 KJH VANHOUZEN, R. MIBCP / 06/23/18 100.000 15.00
Your insurance saved you $142.59 777XDEA
Total Fillings: 1 Subtotal: 100.000 15.00
0575794-12894 BNDROGEL 1.62% (20.25MG/1.25GM) PUMP 00051-8462-33 KJH VANHOUZEN, R. MIBCP i 06/25/18 450.000 30.00
Your insurance saved you $4337.8 23WwT1c
Total Pillings: 1 Subtotal: 450.000 30.00
‘ 3
1576052-12894 FARXIGA 10MG TABLETS 00310-6220-30 DCZ VANHOUZEN, R. MIBCP / 06/26/18 $0.000 15.00
Your insurance saved you $1662.0 WITE1QOF

 

579728-12894 CLONAZEPAM 1MG TABLETS 16729-0137-16 KJH VANHOUZEN, R. MIBCP f 07/12/18 90.000 2.70

Your insurance saved you $42,29
 

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Case 1:19-cr-00117-RJJ ECF No. 63 filed I1/10/19 eee Page 50 oT

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PsychoSocial Assessment

afterwards explained this behavior as attributed to the fast-pace life he leads and the need to
only remember important aspects of his day. Larry seemed to have little insight into possible
risks related to alcohol consumption in combination with his daily regimen of psychotropic
medications. He admits to drinking two beers the night prior to this evaluation. In preparation
for this evaluation, Larry completed a urine drug screen and the sample was sent to Clinical
Connect Laboratory for confirmation. The instant screen and the lab results confirmed the
presence of alcohol metabolites.

Larry completed a Michigan Alcohol Screening Test (MAST) on 6/13/2019 and score was zero,
indicating no likelihood that he would be an alcoholic. Additionally, the Diagnostic and
Statistical Manual of Mental Disorders lists 11 criteria for a diagnosis of Alcohol Use Disorder,
and Larry meets 2 criteria for Alcohol Use Disorder with a specifier of Mild. Criteria identified
were: The individual may continue with substance use despite having persistent or recurrent
social or interpersonal problems caused or exacerbated by the effects of the substance, and
Recurrent substance use in situations in which it may be physically hazardous.

Larry denies any other history of substance abuse and States, “I have never been into drugs or
used them.”

Prescription Drug Use:

Larry has been prescribed Norco for the last 18 months to 2 years. His dosage allows for up to 4
tablets a day but he reports both taking less than what was prescribed, for the purpose of
storing, as well as taking more than what is prescribed without provider knowledge, 12 - 14 per
day. Larry does acknowledge “I was taking 6 Norco prescribed by my doctor, and maybe 6
more from what | had stored. Furthermore, he reports unsuccessful efforts to cut down or
control use on his own. After admission to his doctor, that he was taking more Norco then
prescribed, he reported that his prescription was changed and Fentanyl was added in
conjunction with a reduced Norco dose. Larry reports that the addition of Fentanyl was made
approximately 4 months ago. The instant screen and the lab results confirmed the presence of
hydrocodone along with hydromorphone, which can be a derivative of hydrocodone (Opiate).

Larry is prescribed Klonopin 0.5 mg that he takes up to 2 tablets at bedtime as needed and
acknowledges to having been taking this prescription longer than he originally planned. He
stated “I was at times forgetting what | was saying, doing, and | was repeatedly falling.” The
instant screen and the lab results confirmed the presence of Aminoclonazepam (Klonopin) and
Carisoprodol which is the Soma compound that Larry is prescribed. Urine drug screen results
were positive for the following unexpected substances: Nordiazepam as well as Temazepam
and Oxazepam, which are metabolites of benzodiazepine and therefore indicating the presence
of other drugs besides the prescribed Klonopin. Larry failed to disclose any use of additional
bendiazepine class drug during the evaluation or through the list of prescribed medications.

Larry completed a Drug Abuse Screening Test (DAST) on 6/13/2019 and the score was five,
indicating “Moderate level of substance use — further investigation for possible problems

HOPE-000118
Case 1:19-cr-00117-RJJ ECF No-63Tiedi1i7t0/tsPageiD S04 Page stor

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PsychoSocial Assessment

related to drug use indicated.” Additionally, the Diagnostic and Statistical Manual of Mental
Disorders lists 11 criteria for a diagnosis of Opicid Use Disorder as well as Sedative Use
Disorder, and Larry meets 8 of the 14 criteria for each disorder with a specifier of Severe.
Criteria identified were: The individual may take the substance in large amounts over a longer
period than what was originally intended, Craving, or a strong desire or urge to use the
substance, Recurrent substance use resulting in a failure to fulfill major role obligations at
work/school/home, Continued substance use despite having persistent or recurrent social or
interpersonal problems caused or exacerbated by the effects of the substance, Important
social/occupational/recreational activities are given up or reduced because of substance use,
Recurrent substance use in situations in which it is physically hazardous, Tolerance — as defined
by a need for markedly increased amounts of the substance to achieve desired effect, and lastly
Withdrawal — as manifested by substance being taken to relieve or avoid withdrawal
symptoms.

This evaluator warned Larry regarding the combination use of Norco, Fentanyl, Klonopin, Soma,
for potential overdose risks especiaily in conjunction with alcohol.

Mental Health History:

Larry denies ever engaging in counseling services, prior history of mental health concerns, and
ever being diagnosed with a mental health disorder. Later, he does admit to being prescribed
Escitalopram 10 mg, 1 tablet every evening, by Dr. Van Houzen, to address anxiety related to
legal involvement and pain. Larry was asked to explain the reason for being prescribed Klonopin
0.5 mg 1 to 2 tablets at bedtime as needed, he identified that it was to address anxiety related
symptams.,

When further explaining his mental health concerns, Larry's remarks are experienced as
vacillating between anxiety and depressive statements, He acknowledges some suicidal “I
would never shove a gun in my face, | would just lay in bed, refuse to eat, and die in 30 days,”
while conversely also stating, “today | feel anxious but not hopeless, | feel good.” Larry did
commit to keeping self-safe today and identified resources he can rely on if feeling unsafe.
These findings are consistent with Generalized Anxiety Disorder Screener (GAD-7) score results
of five — indicating probable anxiety disorder. Also, the depression screen Patient Health
Questionnaire (PHQ-9) results were eleven — indicating moderate depression.

Medical History:

Larry does identify that he has had five different surgeries within the past few years to address
his appendix, tear in lower bowel, right ankle, hernia, and repair to lower bowel. Furthermore,
he reports a history of chronic back pain and reports that Dr. Van Houzen prescribed narcotics
for pain management. He did present this evaluator a print-out of all his currently taken
prescribed medications. Norco up to 4 tablets, Klonopin 0.5 mg 1 to 2 tablets at bedtime as
needed, Soma compound 1 tablet at bedtime {sedative}, Fentanyl patches 25mcg changed

HOPE-000119
 

 

Case 1:19-cr-00117-RJJ ECF No. 63Tiéd IT/TO/19  PagelD.565_, Page 52 of /5

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Birch Tree Podiatry Group, P.C.
620 C Woodmere Ave

Traverse City, MI 49
To Whom It May Concern June 3, 2019 ui 688

This letter is about my former patient Mr. Larry Inman. I have been seeing Larry as a
podiatrist and foot and ankle specialist sent 6/13/14.

Larry has had severe foot and ankle problems for most of his life. He was born with a
cavus foot formation which has made him fall subject to frequent ankle injuries and foot
pain.

I treated Larry conservatively for many years using cortisone injections, prednisone pills
and a minimal amount of pain pills such as Norco.

Several years ago his problem became so bad that I referred him to her reconstructive
foot and ankle surgeon who attempted to correct his ankle and foot deformity. This
surgery was only partially successful and Larry continued to have severe foot and ankle
problems.

On 3/17/17 Ladvised Larry not to do any door-to-door campaign walking. He has been
subject to chronic pain, swelling that has not responded well to both surgical and
considerable nonsurgical care.

On 5/11/18 I 1 concluded that he is basically a chronic pain patient and that I have done
all I can to treat him conservatively. ] subsequently referred him to his family Dr, Dr.
Russell Van Houston, M.D, I discussed the case with Dr, Van Houston and he said he
would take over Larry’s care and terms of pain control,

I would expect that Larry would have considerable pain in that foot for the rest of his life.
His pain would be characterized by pain and limping on long-standing but also staggering
gait and pain on rising. For instance walking in the morning or after a period of

inactivity, such as a long car ride, He is walking at that time would be painful and unstab

I will be retired and less than a month and I have not advised Larry since 5/11/18.

Tam a board-certified foot and ankle surgeon by the American Board of foot and ankle
surgery. I’m a licensed podiatric physician and surgeon in the state of Michigan my
licensed #0642.

[ have been on the medical surgical staff at Munson, Medical Center for many years and I
am a fellow of the American College of foot and ankle surgeons,

Sincerely Tr J) ee P/ aD a

Dr. Daniel T Lathrop, DPM

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Or. Randy G. Hartman, 0.P.M. Or. Danlel T. Lathrop, D.P.M.

#AH2876007 #AL5522986
Traverse City BIRCH TREE PODIATRY GROUP, P.C. Manistee
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Dr. Randy G. Hartman, D.P.M. Or, Daniel T. Lathrop, D.P.M,
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Dr, Randy G. Hartman, D.P.M. Dr. Daniel T, Lathrop, D.P.M,
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Dr. Randy G. Hartman, D.P.M, Dr. Daniel T. Lathrop, D.P.M,
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Dr. Danial T. Lathrop, 0.P.M.
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Case 1:19-cr-00117-RJJ ECF No. 63Tiled 11/10/19 PagelID.574 Page 61 of 75
Dr. Randy G. Hartman, 0.P.M. Dr, Danlel T. Lathrop, D.P.M.

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Dr. Randy G. Hartman, B.P.M. Dr. Daniel T. Lathrop, D.P.M.
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LATH-000031
Case 1:19-cr-00117-RJJ ECF No.

@2/12/2018 14:14 2319356898

Russell N. Van Houzen, M.D., F.A.C.P.

INNAR, LARRY C, 04-10-54 39

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)1-19-2018 continued...

FINDINGS (Sublactiva and Objective}

 
 

PAGE 02/62

   

PROGRESS NOTES

PLANS

 

7EYSICAL EXAMIWATION: He is mildly overweight.
iwoarge at this point today. No murmur,

Voice 4¢ minimally
Lungs clear. Heart rate

10 and regular.

 

 

 

 

 

 

 

 

[MPRESSION: 1} Hypertension, controlled.
2) Hyperlipidemia, controlled.
3) Diahetes, improved control, but still slightly
suboptimal,
4) Uypotestesterone with good replacement.
5) Hoarseness. :
6) Ventral hernia to repaired Monday, 1/22/2018,
14-13 AD) OS Mm) 32 Zh)

 

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This is a followup visit after being hospitalized January 22.to

Continue current meda,

 

January 25, 2018. He had an ineistonal hernia repair which

I provided him with Norco

 

tequired a huge 15 cm mesh and apparently he could not close
the upper segment completely so he has seven poke hole incisions
from laparoscopic surgery, He ia expected to have another 6-8

weeka of recovery time which is disappotnting for him. We sav

725/325 one q. 4 hours pen
pain, #100, no refill.

I would prefer not to urite
another one of those if

 

Dr. LaFond apparently today in his office.
Norco 10/325 preseribed by Dr, LaFond.
thinka for two weeks.

He has been taking
They gave him 60 pilis he
He is down to his last week of therapy.
He was on 7.5 once a day from Dr. Lathrop and he got 100 pilis
every 90 days from him, I advised him L could write him a Rx
for 7.5 hoping that he could wean down from the 10, 7.5 and
eventually get back to one, 7.5 a day for his ankle. He does havd
Colace. He is using that for stool softener because of the pain
medicine. He is otherwise doing pretty well on his other meds.

PHYSICAL EXAMINATION: Ho is afebrile. BP 120/80, heart rate 76

posslble,

Hopefully that will cover his
weaning process and fet

back down to once a day and
back to hia Rx from Dr.
Lathrop,

He is scheduled to return to
see me in mid May with

lab work, That will be hix

 

and reguiar. Lungs clear. No murmur. Abdomen ~ seven laparoscoy
The higher left.upper

quadrant hole is oozing a very small amount of material.

punctures that are all healing well.

 

ic issues

next_appt unless he has
that require

attention sooner.

 

LATH-000040—
Case 1:19-cr-00117-RJJ ECF NoESS4REGH 1/10/19 PagelD.581 Page 68 of 75
SELECT TEXT MESSAGES FROM FORENSIC REPORT RE: PAIN COMPLAINTS AND NORCO

 

 

6858

 

Sent

 

To
+12316200236
Dan Lathrop *
Direction:
Outgoing

 

B22/2018
18:45(UTC+0)

 

 

 

Sent

 

Or Dan . how are you. Are you | Intact

around next week, | need my

Quanery renewal of Perdisone

10mg #125, and Norco

ey mg #128, your brother
ary

Source Extraction: Logical (2).

Logical (1)

 

 

 

 

8636

 

To
+12316200236
Dan Lathrop *
Direction:
Outgeing

 

W25/2018
22:08(/UTC+D)

 

 

 

 

Hi Dr Dan, yes | know, |
passed the law, :} thatis why!
took me down from 10/325
Norco to 7.8) 325 Norco, #
125. for 90 days. We are
doing quarterly scripts . | take
1 to 2 day, 1 in the morming
and 1 at night for my right foot.
Extended walking or using my
right foot on the gas petal back
and forth from Traverse City to
Lansing , my right foot has had
it. You have te also have to
run mé on Mapps. We passed
3 law , so you would know if
people are doctor shopping.
You will se Noree from
Munson Hospital for my
surgeries and 2 scripts from Dr
Russ VanHouzen after my last
2 surgenes. Surgery was Iwo
Norco 10/325 every 4 hours. |
took those Norcos before |
came to you. My last
appointment, Dr.Russ
VanHouzen was Ok with
dropping Noreo from 10/325 to
7.5/325. Send him another
letter on my continued
treatment of my night foot to
cover your self, -) Larry
Source Extraction: Logical (2),
Logical (1)

 

 

imact

 

 

 

 

13194 |SMS Outgoing Ti26/2018 To: +123163 13063 lam so miserable in my lower back pain | imiact

Messages 23:47(UTC+0) Ackerman Ashleigh and down the back of legs . | have

3 doubled up on pain meds and it's not
helping , and | am

In a battle with BCBS to approve a MRI,

but! will hit doors to the end and suffer, L

Source Extraction: Logical (25, Logical

(1)

 

 

 

 

 

 

 

 

 

 

8608 | Sent 3/26/2018 Sent || assume you can only treat intact

 

To
+12316200236
Dan Lathrop *
Direction:
Outgeing

21:41(UTC+D)

my pain for se long and then
refer me to my primary Doctor
. twas good that the two of
you talked about it. Russ
understands about my right
foot pain level. Thanks for all
your help so far. :) Larry
Source Extraction: Logical {7}.

 

 

 

 

 

 

 

 

 

Logical (2)
408

inbox

Case b21468500117

Ackerman Ashleigh “

Direction:
incoming

BSIEGE NO. 63 filed 11/:

LO/1s “P

Read
agelD.4

| Woes van NOUZEN specialize in
DB? CR eft 765
doctors. Yo need to see a
specialist

Source Extraction: Logical (1),
Logical (2)

niact

 

3466

Inbox

From

+123163 13053
Ackerman Ashleigh *
Direction:

Incoming

e/2018
0:4a(/UTC+O)

+197037097
6

Read

This job is killing you
Source Extraction: Logical (1),
Logical (2)

 

intact

 

 

3470

 

To

+12316313053
Ackerman Ashleigh "
Direction:

Outgoing

 

6/2018
O0:40/UTC+D)

 

 

 

Sent

 

tafects my ability to do
extensive walking , or physical
activity. Or surgery with a very
long recovery . and its geting
worse, lately , that is why | am
seeing Dr Russ Van Houzen
quaterly. Hospital tests , and a
weelky Chiropratic treatment
to keep me on my feet, shit!
Source Extraction: Logical {7}.

 

Logical (2)

intact

 

 

 

3466

 

To

+12316313053
Ackerman Ashleigh "
Direction:

Outgeing

 

B/a2018
00:55(UTC+I)

 

 

 

 

My neck is out of alignment
that effects my back . my L4
L& is tctally swisted putting
extreme pressure on my S
nerve. Tharis causing
increasing pain and | wake up
St 3am with extreme lower
back pain and extreme pain
down my back side of both
leos, we are tryin
Chiropractor, cre | have to
go te UM for evaluation, shorn
term could be its shats on my
Spine to slow my pain nest my
spinal cord , or! have to have
spinal sui fuck!

Source Extraction: Logical {1},
Logical (2)

 

 

intact

 

 

 

3452

To

+12316313053
Ackerman Ashieigh *
Direction:

Outgoing

ea'2018
O1nUTC+H)

am lening you . because of
the recent need to da
extensive doors that! had not
expected before the primary

ican do some doors , butit
will cause more pain. My night
foot is not doing all that well
either on extensive walking , |
killed my right foot after
sungery doing extensive coors
to win my first election in a
boot cast. | am able to walk ,
but! told them | am notre
doing that surgery. its swells
pretty good on extensive
walking , | have to live with it.
The drive back and forth to
Lansing is killing me , with
using my right foot and now
my back, but what the Fuck !
OoT

Logical {1}

Source Extraction: Logical (2),

intact

 

 

 

 

To

+12316313053
Ackerman Ashleigh *
Direction:

Outgeing

 

e/al2018
O1:21jUTC+D)

 

 

 

 

My LS and L5 are both
comprised and is twisted.
causing extreme pain against
my spinal nerves , that is my
problem, it causes my muscles
along my spinal cord to also
be inflamed causing more
pain, | am eating pain pills like
3 bag of MM , but everything
else seems to be Ok , OOF
Source Extraction: Logical (2),
Logical (1)

 

Intact

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3442 «(Sent Ta. M2018 . S entice spinal. i Intact
Cast! 9166-00117/ FER SEGF No. 63 filed 11/10/19 Pagal. S8amnk aueickerbe
Z J Ackerman Ashleigh " ig | as more .home to
a b
Direction: eo
Source Extraction: Logical (1).
Outgoing Logical (2)
2201 | Sent To efa02018 Sent | Onthe QT, the nerve back Intact
satan 0O:47(UTC+0) pain that ee a _—
Ackerman leigh * is MOt getting better, but Chiro
: ae apot it does help . He gave me
/ od —— his personal cell number, O07
tgeing Source Extraction: Logical (7),
Logical (2)
337 | Sent To Ti25/2018 Sent |! am so miserable in my lower | |ntact
412316313063 23:47(UTC+0) oe cep and oe back
Ackerman Ashleigh * of legs , | have dou up on
si pain meds and it's not helping
uagne and |am
1< ng in a battle with BCBS to
approve & MRI, but | will hit
Source Extraction: Logical (2),
Logical (1)
402 | Sent To 7i26/2078 Sent | Hi kris, | justsent you acopy | Intact
4157176148840 IB1(UTC+O) of my info sent to ey ‘
KrafvBCBS Kristen * see what you can do. | would
; Direction: not ask for the MRI unless |
sae needed it, my pain level is a 8
/¢ Outgoing outof 10, thanks . Larry
Source Extraction: Logical (2),
Logical (1)
S47 | Sent To 7/16/2018 Sent | Shit, its likely | need spinal intact
412318313053 22:5 1(UTC+0) surgery at UM Hospital . itjust
Ackerman Ashleigh * getting worse, now going into
Direction: 3 MRI. see Or VanHouzen on
Qisinoinn @ referral Chief of Nuero
teeing Surgey at UM, oh, then a
/ Ss Cadio test for 3 days with Dr
Kim Eagle Chief of Cadrio
surgery at UM on my hear
August 2, 3 rd, if] can get
back on the 4th. Both my
brother and sister passed at
49, and | have plaque in my
left main. | am a litte on edge.
just recovering from 5
surgeries at Munson, dealing
with fucked up Trust. dealing
with asshole Dan, | am not
geting any sleep. pain pills
dont work any more . and | am
on 50 seripts keeping me alive
so how is yourday,
Source Extraction: Logical (2).
Logical (1)
2023 | Sent To Ti42018 Sent | Bring Pain Pills! Alev 1000mg | Iniact
+123 18833842 00:58(UTC+D) pa 000, oe c
Cell Kim Hines /*" ure ‘action: Logical (1).
/ & Direction: Logical (2)

Qutgeing

 

 

 
aus ori

i7

Cas

Diecton:
Outgoing

MmNeUIS

of £19-88500117- RIS" EOF No. 63 filed 11/

vem

A UW ie a), PvE apps | irbern

10/19 PagelD.88#= Pan 674.0175

August 2 and 3rd. | have a
pending appt with Dr Paul
Park MD . head of Nuerogoly
at UM. On my pain level at Lé
and L5. | have to see Dr Russ
Vanhouzen to get a MRI on on
my spinal cord asap at
Munson Hospital to send to
UM Hespital , O07

Source Extraction: Logical (2),
Logical {1}

 

 

/§

 

To

7244780246
Cell Rebecca
DeVooght! UNM"
Direction:
Outgeing

 

722018
23:;DD(UTC+0)

 

 

 

 

Sent

Ha, hows our football tearm? :) | Intact
Capital Outlay may be brought
in the fall. | need to talk with
you on the UM tailgate events
coming up. Also | have an
appt with Or Kim Kim Eagle .
UM, Cardiologist on August
3rd. Cardio Exam. Well | have
another issue, | have an
issues om my Spinal cord C4,
C5, C8. AndL4,L5, chronic
lam seeing &
Chiropractor, its helping , but!
think | need to see a specialist,
the top Dr of Nuérogoly person
at UM. , who is the best at UM,
| will have to buy you dinner in
Lansing -}:) . miss ya . State
Rep Larry Inman
Source Extraction: Logical (2),
Logical (1)

 

 

 

 

To

7240468351
Hospital Mike Deeb/
UM?"

Direction:

Outgoing

 

722018
21:24(UTC+0)

 

 

 

 

Sent

Hi Dr Deeb, | just you a Intact
message .! was referred to
you by Dorance Amos and
Richard Kults. | have an appt
with Dr Kim Eagle at UM fora
Cardio check August 3rd. This
pot was made by the UM
Administration assistance for
me. | am having chronic pain
on my lower back and back of
my lags. My last ray on
1/2018, showed my C4 (5
and (5 C6 are narrowed with
Degnerative spuring, also
degenerative spurring of the
uncovertebral joints. | have
degenerative seen on my L4
and L5 facet joints and L5 -31
facet joints. It reports
degenerative grade 1
spondylolisthesis of L4 on LS

| advised Dorance and Dick ,
they Suggested | call you for s
the best Dr name in Neurology
at UM. My Primary Doctor is
Or Russ VanHouzen, MD .in
Traverse City., He gave me a
referral for Or Kim Eagle -
Once | get a name , | need to
see Or Russ VanHouzen for a
referral. | am also seeing a
very good Chiropractor, Dr
Travor Damell in Elk Rapids. |
am a State Represetative from
Traverse City. My cell phone is
221 357 8470, thank you,
Larry C Inman.

Source Extraction: Logical (1),
Logical (2)

 

 

 

To
+12318833842
Cell Kim Hines /*
Direction:
Outgoing

T2016
00:15(UTC+D)

Yeap | am just at the Hacienda | |miact
. ice oold beer and Air is set at
70, miss you , love you , Bond
needs pain drugs , to many
any missions getting shot at
and falling off tall buildings for
MIG ARA campaigning . 007
Source Extraction: Logical (2).
Logical (1)

 

 

 

 
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 Ese pieepeoe ho! 15

U.S. Department of Justice

United States Attorney
Western District of Michigan

 

 

5™ Floor, The Law Building Mailing Address: Tel. (616) 456-2404
330 lonia Avenuc, NW United States Attorney's Office Fax (616) 456-2408
Grand Rapids, Michigan 49503 Post Office Box 208

Grand Rapids, Michigan 49501-0208
By E-mail and U.S. Mail November 1, 2019

Christopher K. Cooke
Neumann Law Group

300 E. Front St., Ste. 445
Traverse City, MI 49684-4733

Re: United States of America v. Larry Charles Inman, 1:19-CR-117
Mr. Cooke:

Please be advised that if your client decides to proceed with the diminished capacity defense
and Judge Jonker allows the testimony of Dr. Bruce Baker (or any other expert) in support of that
defense, the Government will offer the expert testimony of Dr. Daniel Berland and/or Dr. Bryan
Judge as part of its rebuttal case. The curriculum vitae for each expert is attached. Please advise if
you have any issues regarding the qualifications of either Dr. Berland or Dr. Judge to address the
issues framed by your diminished capacity defense.

Additionally, Fed. R. Crim. P. 16 does not apply to, or require the Government to provide
any advance information regarding, the opinions of a rebuttal expert. This is obviously due to the
fact that the opinions of the rebuttal expert depend in large part upon the testimony of your expert at
the time of trial. And, I will not be able to provide more detail regarding the opinions of our rebuttal
experts until I receive a sufficient disclosure of the bases and reasons for Dr. Baker’s opinions and
the rebuttal experts have a better opportunity to understand Dr. Baker’s opinions (see recent court
filing regarding the opinions of Dr. Baker, ECF No. 55-2 and 55-3).

However, in the spirit of cooperation, Dr. Berland, board-certified in internal medicine and
addiction medicine, is expected to testify that the combination of controlled substances that your
client took on a long-term basis would not cause a diminishment in his cognitive capacity such that
he could not form specific intent to commit the subject offense(s). Additionally, he is expected to
testify that the medical records documenting your client’s medical history, as well as the evidence
surrounding the subject offenses, do not support a conclusion that your client suffered from
diminished capacity to the extent that precluded him from forming specific intent at the time of the
relevant offense(s). Similarly, Dr. Judge, an emergency medicine physician certified in toxicology,
is expected to testify about the chemical properties of these drugs alone, or in combination with each
other, and how many individuals taking these combinations of drugs on a long-term basis are able to
carry out normal life activities.
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.586 Page 73 of 75

Mr. Chris Cooke
November I, 2019

Page 2
Please contact me with any questions or if you wish to discuss this further. Thank you.

Very truly yours,

ANDREW BYERLY BIRGE
United States Attorney

/s! Ronald M. Stella
CHRISTOPHER M. O’CONNOR
RONALD M. STELLA

Assistant United States Attorneys
 

Main Mailing Address

300 Front Street, 4°" Floor
Traverse City, MI 49684
231-221-0050

250 Monroe Avenue NW. 4" Floor
Grand Rapids. Ml
616-717-5666

1 Towne Square, Suite 1700
Southfield, Ml 48076
246-216-1660

May 15, 2019

Mr. Christopher O’Connor
Assistant United States Attorney
5 Floor Law Building

330 lonia Avenue, NW

Grand Rapids, MI 49503

Re: U.S. v. Inman
Case No: 1:19-CR-00aa7-RJJ

Dear Mr. O’Connor,

Ey, tnternational Place. i8* Flear
Yad 1-4 Bostan, MA 02110

LAW GROUP

800-525-NEUMANN
250-271-9051
neumanniawgroup.coni

617-918 7790

776 Washington Street
Canton. MA 02021
617-316-7730

330 W 11th Street
Los Angeles. CA 90015
215-277-000)

N20 Pacific Coast Highway
Huntington Beach, CA 92645
213-277-0001

| have entered my appearance in the above captioned matter. | notice the Court has scheduled
an initial appearance, arraignment and initial pretrial conference for Thursday, May 23, 2019 at 3:30
pm. | have long standing plans to be in New Orleans on May 224 through the 26". | am wondering if
we can agree to move this by stipulation or if | need to move the Court to reschedule this date.

Further, pursuant to Rule 16, we demand the following:
a, the substance of any relevant oral statement made by the defendant, before or after
arrest, in response to interrogation by a person the defendant knew was a government

agent if the government intends to use the statement at trial.

b. any relevant written or recorded statement by the defendant within the possession,
custody or control of the government or if the attorney for the government knows-or
through the exercise of due diligence, could know-that the statement exists.

c, the portion of any written record containing the substance of any relevant oral
statement made before or after arrest if the defendant made the statement in response
to interrogation by a person the defendant knew was a government agent.

d. the defendant’s prior criminal record.
e. copies of all photographs, books, papers, documents, data, recordings, tangible objects,
buildings or places, copies or portions of any of these items within the government's
Case 1:19-cr-00117-RJJ ECF No. 63 filed 11/10/19 PagelD.588 Page 75 of 75

possession, custody or control and the item is material to preparing a defense or the
government intends on using it in its case-in-chief or the item was obtained from or
belongs to the defendant.

f. the inspection, copying and/or photographing the results of reports of any physical or
mental examination or any scientific test or experiment that is within the possession,
custody or contral of the government or of which the attorney for the government knows,
or through the exercise of reasonable diligence could know that the item exists and the
item is material to preparing a defense or the government intends to use the item in its
case-in-chief at trial.

g. a written summary of any testimony that the government intends to use at trial under
Rules 702, 703 or 705 or the Federal Rules of Evidence in its case-in-chief at trial. The

summary must describe the witness's opinions, the bases and reasons for those opinions,
and the witness’s qualifications.

h. the discovery and inspection of prospective government witness statements as
provided in U.S. C. sec. 3500.

i. any statement in the possession of the government that relates to the subject matter of
the witness's testimony pursuant to U.S.C. Rule 26.2.

Thank you for your attention in this regard.

Respectfully,

CEee (a

Christopher K. Cooke (P35034)
Neumann Law Group, PLLC
